2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 1 of 44

Schedule of Exhibits:
A through D

Detailed Schedule of Exhibits:
EXHIBITS -A
1.Copy of Agreement/Contract and Addendum (24 pages ); and
EXHIBITS -B

2.Copy of FINAL ARBITRATION AWARD (23 pages which including certification);
and

EXHIBITS -— C
3.Copy of Proof of Delivery of Award to Respondents (5 pages); and
EXHIBITS — D

4.PROPOSED ORDER AND JUDGMENT CONFIRMING ARBITRATION
AWARD (3 pages).

56 pages total including this Schedule of Exhibits

2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 2 of 44

| EXHIBIT-A

Conditional Acceptance for the Value/Agreement/Counter Offer to Acceptance of Offer
SHOW OF CAUSE PROOF OF CLAIM DEMAND

SERVED OR PRESENTED via the: UNITED STATES POSTAL SERVICE
by the UNITED STATES POST OFFICE via First Class Postage Prepaid

Contract # 2019-0108BRUCWSFCM-S12389981- 5577899811°

PARTIES:

(RESPONDENTS/OFFEREE:)
To: WILMINGTON SAVINGS FUND SOCIETY, FSB To: WILMINGTON SAVINGS FUND SOCIETY, FSB
Attention: Mark A. Turner (CEO) c/o William S. Koehler — ALBERTELLI LAW
Address: 500 Delaware Avenue, Wilmington, DE 19801 Address: 1201 Main Street, Suite 1450, Columbia, SC 29201
Account No.(s): 202985786 and 7000124554 Account No.(s): 202985786 and 7000124554
CERTIFIED MAIL NUMBER: 7038 0360 0001 0340 6126 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6133
To: the District Court of the United States To: CARRINGTON MORTGAGE SERVICES, LLC
Charleston Division/Civil Attention: Bruce Rose (CEO}
Address: 85 Broad Street, Charleston, South Carolina 29401 Address: P.O. 8OX 5001, Westfield, IN 46074
Case No.(s): 2:17-cv-02617-RMG-BM , 2:18-cv-02555-BHH-BM Account No.(s): 7000124554 and 202985786
CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6140 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6157
To: the UNITED STATES OF AMERICA To: the United States Supreme Court
c/o U.S. Department of Justice Address: 1 First St NE, Washington, DC 20543
Address: 950 P ylvani , NW hington, DC 20530-0001 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6171

CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6164
To: the United States Department of Agriculture
To: the South Carollna Supreme Court Fiscal Service, Director, Finance Office
ATTENTION: Chlef Justice Donald W. Beatty Address: 1400 Independence Avenue, SW, Washington, DC 20250
Address: 1231 Gervais Street, Columbia, South Carolina 29201 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6195
CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6188
To: South Carollna Housing Trust Fund

To: State of South Carolina Attorney General’s Office SC Housing Corp

Attorney General Alan Wilson c/o Tracey C. Easton

Address: P.O. Box 11549, Columbia, South Carolina 29211 Address: 300-C Outlet Pointe Bivd., Columbia SC 29210
CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6201 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6218
To: Dorchester County Courthouse To: Department of the Treasury

Common Pleas/Civil/Circuit Court - c/o Judge Diane S. Goodstein Bureau of The Fiscal Service
Address: 5200 E. Jim Bilton Boulevard, Saint George, South Carolina 29477 Address: 3201 Pennsy Drive, Building E, Landover, MD 20785
Case No.(s): 2016CP1801678 , 2016LP1800400 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6232
CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6225

To: BANK OF AMERICA, N.A.
To: Federal Reserve c/o BANK OF AMERICA CORPORATION — Brian Moynihan (CEO)
Board of Governors of the Federal Reserve System 100 N. Tryon Street, Charlotte, North Carolina 28255
Address: 20th Street and Constitution Avenue N.W., Washington, OC 20551 Account No.: 202985786
CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6249 CERTIFIED MAIL NUMBER: 7018 0360 0001 0340 6300

(CLAIMANTS/OFFEROR:)

From: Nelson L Bruce
Address: 144 Pavilion Street, Summerville, South Carolina [29483]

January 8, 2019
To the Holder in Due Course and/or agent and/or representative,

| Nelson L. Bruce and associates have received your offer and accept your offer under the
following terms and conditions-

That you provide the following proof of claim, your failure to provide proof of claim, and to
accept payment for credit on account shall constitute a breach of this binding self-executing irrevocable
contractual agreement coupled with interest and subject the breaching party to fines, penalties, fees,
taxes and other assessments. You are hereby notified that this new conditional acceptance/offer
replaces all previously presented conditional acceptance/offers by the referenced claimants to the

referenced respondents to separate, remove and/or to include relevant parties and to avoid confusion
in this matter.

10251. PROOF OF CLAIM, the legal status of these “un/non-constitutiona! legislative entities”
operating/functioning as sources of authority for these so-called “Revised Codes/Statutes”; and
specifically the United States Code and/or specifically THE ACT OF MARCH 9TH, 1933 Proclamation

Page 1[12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

2038, 2039, 2040 AND Titles 4, 7, 11, 12, 15, 16, 18, 28, 31 and 42 USC; C.F.R., THE FEDERAL REGISTRY,
thereof, is not that of a corporation/quasi corporation; which, is also created by statute. (See: 73
CJ.S., Public Administrative Law and Procedures, § 10, p. 372, citing: Parker v. Unemployment
Compensation Commission, 214 S.W. 2d 529, 358 Mo. 365, which States: “The powers granted to an
administrative body may be such as to establish it as a legal entity, and, although not expressly
declared to be a corporation, it may be considered a public quasi corporation.”; Texas & Pacific
Railway v. InterState Commerce Commission, 162 U.S. 197 (1895), which States: “The InterState
Commerce Commission Is a body corporate, with legal capacity to be a party plaintiff or defendant in
the Federal courts.”; 2 Am.Jur.2d, Administrative Law, § 32, p.56, which States: “Some administrative
agencies are corporate bodies with legal capacity to sue and be sued.”].

I. SHOW OF CAUSE PROOF OF CLAIM DEMAND

10252. PROOF OF CLAIM, that the Legislative Reference Bureau, created by Act of April 27, 1909, P.L. 208,

and, reorganized by Act of May 7, 1923, P.L. 158, as a legislative “agency’ with the primary function
to draft and pass upon legislative bills and resolutions for introduction in the General Assembly, and
to prepare for “adoption” by the General Assembly, “Codes” by topics, of the existing general statutes
for which it was handed over statutory authority in 1974 to publish an “official publication” of the
United States Code, is not operating/functioning as a “un/non-constitutional legislative entity’; and,
is not operating or functioning as a foreign corporate entity representing the source of authority for
the existence of statute(s)/law(s} known as the United States Code, in the capacity of an
“administrative law agency” administering the corporate affairs and public of that which created it by
statute.

10253. PROOF OF CLAIM, these alleged statute(s)/law(s) of this “un/non-constitutional legislative entity’;

i.e., the Legislative Reference Bureau, operating/functioning as a foreign corporate “administrative
law agency” are not by nature akin private “by-laws” of a “corporation” for the administration of its
internal Government and public; and, are binding and of force or effect over and upon the private,
non-enfranchised, and non-assumpsit’s thereto; and therewith, living, breathing, flesh-and-blood
man, i.e. a natural person/man; and, as such, are not ultimately governed by, through, and within the
realm of commercial law as adopted and codified within The United States Code thereby; and therein,
representing commercial law for operating/functioning in commerce.

10254. PROOF OF CLAIM, whereas the Constitution for the United States of America at Article |, Section

8 and 10 clearly prohibits the Congress from printing and issuing Federal Reserve Notes as it Is a
constitutional entity, or purportedly so, and its actions are limited thereby; and therein, a corporation
or trust is not; e.g., the Federal Reserve System, created by Congressional Act in 1913, and as a
“un/non-constitutional Congressional entity” without the Constitution, and therefore not bound NOR
encumbered by said document/instrument, may proceed to print and issue money (currency) which
would be an unconstitutional form of money for Congress; restrained as it is, by the
instrument/document of its creation, these “un/non-constitutional legislative entities”; e.g., the
Legislative Reference Bureau, and the alleged statute(s)/law(s) they create/generate is not a “un/non-
constitutional” issue having no nexus with the Constitution; and, the binding force or effect of said
statute(s)/law(s) is not established/created solely from; or by, contract between the parties; which,
once silent judicial notice of said contract is taken by the Holder in due Course any affidavits in support
thereof; and specifically within the above referenced alleged Loan/Debt/Security instrument, unless
said presumption of a contract is rebutted?

a. Please note that although it Is the United States Treasury Department who prints the so-called
Federal Reserve notes, these notes have no value and are not backed by anything-

“Federal Reserve notes are not redeemable, and receive no backing by
anything this has been the case since 1933. The notes have no value
for themselves,” this is taken from the official website of the United
States financial expert, the United States Department of the Treasury

whose job it is to print the money to be utilized by the public, and

Page 2|12

Page 3 of 44

EXHIBIT -A

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

note how they say that since the government declared bankruptcy in

1933 their notes have had no value.

An official website of the United States Government

An official website of the United States Government

U.S. DEPARTMENT OF THE TREASURY

Sihwwys ase RS enter/faq rrency/Pages/legal-tender.asnx

the Federal Reserve Issues bookkeeping entry credit, there is no constitutional amendment permitting the Federal Reserve
and/or the treasury to create worthless items and declared them to be currency. The Constitution has held that the monies
created by Congress must have a value, and this Is not a market value but a national currency value. Federal Reserve

bookkeeping entry credit is not regulated by Congress, making thls process by the Federal Reserve, the issuance of bookkeeping

entry credit, unconstitutional. That is, unless and until you can provide facts and conclusions of law and not opinion to the
contrary.

10255. PROOF OF CLAIM, that the original lender did not lend “bookkeeping entry credit” in the form of

a loan, and failed to provide such notification and clear, unambiguous, conspicuous
language/terminology that any reasonable man or woman would understand? "intentionally
created fraud in the factum” and withheld from plaintiff... "vital information concerning said

debt and all of the matrix involved in making the loan". peutsche Bank v. Peabody, 866
N.Y¥.8.2d 91 (2008). EquiPirst, when making the loan, violated Regulation Z of the Federal
Truth in Lending Act- 15 USC $1601 and the Fair Debt Collections Practices Act 15 USC §1692

10256. PROOF OF CLAIM- That the banking Holiday proclaimed by Pres. Roosevelt under proclamation
2039 prohibiting any during the course of such emergency to include but not be limited to deposits,
credits, receipts, withdrawals within and between banking institutions has been suspended,
declared over, abolished, repeated?

10257. PROOF OF CLAIM- That the government loan represented by this account is not backed by the
full faith and credit of the United States government?

10258. PROOF OF CLAIM- That the government loan represented by this account is not secured by
mortgage Insurance, and that the holder in due course is the beneficlary of that mortgage
insurance? That the mortgage insurance is in place should the borrower default?

10259. PROOF OF CLAIM- That the Loan associated with the debt is classified as a personal loan and not
a home loan? And that if it were to be classified as a home loan the original lender would be
responsible for capital gains taxes? That the Home is purchased not from a bank but a Private home
Owner?

10260. PROOF OF CLAIM- That the property securing the loan (an unsecured loan), has been fully paid
as a result of the treasury program and/or other government program respecting or associated with
such loans (PROGRAMS LIKE THE SINGLE-FAMILY HOME LOAN GUARANTEE PROGRAM)?

10261. PROOF OF CLAIM- That issuing the loan in the form of “BOOKKEEPING ENTRY CREDIT” was
deceptive, intentional, and a deliberate attempt to conceal pertinent information regarding the
Origination of the loan and the matrix associated thereto?

10262. PROOF OF CLAIM- That tax credits and/or a charge off whereby the government has issued
credits respecting the associated loan/debt has not been applied to the borrower's side of the
ledger indicating the adjustment in balance?

10263. PROOF OF CLAIM- That the Uniform Nonjudicial Foreclosure Act, The Uniform Home Foreclosure

Procedure Act, the Administrative Procedures Act, do not recognize arbitration as an alternative
dispute resolution remedy?

Page 3{12

Page 4 of 44

EXHIBIT-A

2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number1-1 Page 5of 44

| _ EXHIBIT-A

10264. PROOF OF CLAIM- That the associated loan has not been satisfied as outlined in the Uniform
Satisfaction of Mortgage Act?

10265. PROOF OF CLAIM- That the borrower is entitled to a full and complete accounting, as you and/or
your associated organizations are the keepers of record, the custodians of record, and or to supply a
full and complete accounting of the record upon demand? Please note that demand is hereby made
for a complete comprehensive accounting of this account, and the same deadline for furnishing a
response to this presentment is the exact same deadline for furnishing the accounting as/is
demanded!

10266. PROOF OF CLAIM- That your organization nor the original lender ever intended on limiting
lawful money as required in law, regulated by Congress and prescribed by the Constitution of the
United States of America?

10267. PROOF OF CLAIM- That there Is no lawful statute and/or Constitution delegation of authority
authorizing your institution in creating “BOOKKEEPING ENTRY CREDIT”, as a form of acceptable
currency within the United States?

10268. PROOF OF CLAIM- That all property in the United States is owned by the state by virtue of
government?

10269. PROOF OF CLAIM- That the following statement and/or record of Congress remains extant?

“Mr. Speaker, we are here now in chapter 11. Members of Congress are official trustees presiding over the
greatest reorganization of any Bankrupt entity in world history, the U.S. Government. We are setting forth hopefully.
a blueprint for our future. There are some who say it is a coroner's report that will lead to our demise." [Rep.
James Traficant, Jr. (Ohio) addressing the House. Congressional Record, March 17, 1993, Vol. 33, page H-1303]

10270. PROOF OF CLAIM- That as a banking Institution the Borrower may utilize Bookkeeping Entry
Credit as a form of acceptable currency as it was the initiating currency of issuance-

Now, Therefore I, Franklin D. Roosevelt, President of the United States of America,

do hereby proclaim, order, direct and declare that ... there shall be maintained and observed
by all banking institutions and a anches there sate 2 fad State merica
including the territories and insular possessions, a bank holiday, and that at during 6 said period
all banking transactions shall be suspended. During such holiday ... no such banking

institution or branch shall ... permit the withdrawal or transfer in any manner or by any

device whatsoever, of any ... currency ... nor shall any such banking institution or branch
pay out deposits, make loans or discounts ... transfer credits ... or transact any other

banking business whatsoever.

During such holiday, the Secretary of the Treasury, with the approval of the
President and under such regulations as he may prescribe, is authorized and empowered (a)
to permit any or all of such banking institutions to perform any or all of the usual banking
functions, (b) to direct, require or permit the issuance of clearing house certificates or other
evidences of claims against assets of banking institutions, and (c) to authorize and direct the
creation in such banking institutions of special trust accounts for the receipt of new deposits
which shall be subject to withdrawal on demand without any restriction or limitation and
shali be kept separately in cash or on deposit in Federal Reserve Banks or invested in
obligations of the United States.

As used in this order the term "banking institutions" shall include all Federal
Reserve Banks, national banking associations, banks, trust companies, savings banks,
building and loan associations, credit unions, or other corporations, partnerships,
associations or persons, engaged in the business of receiving deposits, making loans,
discounting business paper, or tra

Page 4|12
2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 6 of 44

| __EXHIBIT-A

- Proclamation 2038—Declaring Bank Holiday March 9, 1933; Public Papers and
Addresses of Franklin D. Roosevelt declared Law By the General Assembly US Congress
March 9, 1933 and the Act associated by the same name.

10271. PROOF OF CLAIM- That the loan and the Associated Debt is an Obligations of the UNITED STATES
as defined in statute-

September 14, 1976." The Senate Special Committee had found

that President Roosevelt's 1933 proclamation of a national

emergency were still extant. See: SENATE SPECIAL COMMITTEE ON NATIONAL
EMERGENCIES AND DELEGATED EMERGENCY POWERS, FINAL REPORT: NATIONAL
EMERGENCIES AND DELEGATED EMERGENCY POWERS, S. Rept. No. 94-922, 94" Cong,, 2d
Sess. (1976). P.L. 94-412 (Sept. 14, 1976); 90 Stat. 1255; 50 U.S.C. 1601 et seq.

10272. PROOF OF CLAIM- That "The ownership of all property is NOT in the state; AND THAT
individual so-called ‘ownership’ is only by virtue of the government, i.e., law, amounting to mere
user; and THAT use must be in accordance with law and subordinate to the necessities of the
state." Senate Document No. 43, 73rd Congress, 1st Session;

10273. PROOF OF CLAIM- That “Under the new law the money is issued to the banks in return for
government obligations... The money will be worth 100 cents on the dollar, because it is backed by
the credit of the nation. THAT IT represents a mortgage on all the homes, and... all the people of
the nation." Congressional Record, March 9, 1933 on HR 1491 p. 83.

10274. PROOF OF CLAIM- That it has been “Resolved by the Senate and the House of Representatives
of the United States of America in Congress assembled: That (a) every provision contained in or
made with respect to any obligation which purports to give the obligee the right to require
payment in gold or a particular kind of coin or currency, or in an amount in money of the United
States measured thereby, is declared to be against public policy, and no such provision shall be
contained in or made with respect to an obligation hereafter incurred. Every obligation heretofore
or hereafter incurred, whether or not any such provision is contained therein or made with respect
thereto, shall be discharged upon payment, dollar for dollar, in any such coin or currency, which at
the time of payment is legal tender for public or private debts . . ." The GOLD Abrogation Act of
June 5%, 1933

10275. PROOF OF CLAIM- That "Since March 9, 1933, the United States has been in a state of declared
national emergency." "These proclamations give force to 470 provisions of federal law. These
hundreds of statutes delegate to the President extraordinary powers exercised by Congress, which
affect the lives of American citizens in a host of all-encompassing manners. This vast range of powers .
taken together, confer enough authority to rule this country without reference to normal
constitutional process.” Senate Report 93-549, July 24, 1973

10276. PROOF OF CLAIM- That the following is the current and is the current understanding:

[Mr. McPhadin] "... The first section of the bill, as | grasped it, is practically the war powers that
were given back in 1917. | would like to ask the chairman of the committee if this is a plan to
change the holding of the security back of the Federal Reserve notes to the Treasury
of the United States rather than the Federal Reserve agent.”

[Mr. Stiggle] “This provision is for the issuance of Federal Reserve bank notes; and not for
Federal Reserve notes; and the security back of it is the obligations, notes, drafts, bills of
exchange, bank acceptances, outlined in the section to which the gentleman has referred.”

[McPhadin] “Then the new circulation is to be Federal Reserve bank notes and not Federal
Reserve notes. |s that true?”

[Stiggle] “Insofar as the provisions of this section are concemed, yes."

“[Mr. Britain} From my observations of the bill as it was read fo the House, it would appear that
the amount of bank notes that might be issued by the Federal Reserve System is not limited.
That will depend entirely upon the mount of collateral that is presented from time to time from
exchange for bank notes. Is that not correct?”

[McPhadin] “Yes, | think that is correct."?2?

the Congressional Record during the debate over the Emergency Banking Act of 1933.

Page 5| 12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

10277. PROOF OF CLAIM- That the amendment of § 5(b) provided that the Act can only be invoked

"(d)juring the time of war." The elimination of the exclusion made clear that any and all emergency
powers that might have previously been available pursuant to a national emergency declared under
§ 5(b) Congress did not formally terminate the one declared by President Roosevelt (apparently
believing that only the President could do so). And so, 50 U.S.C. App. 5(b); 12 U.S.C. 95a. In
amending TWEA, Congress did provide for the continuation of the emergency and of any economic
sanctions that were the result of a Presidential declaration of national emergency that were in effect
on July 1, 1977, subject to automatic termination unless they were renewed annually. This provision
allowed the continuation of the National Bankruptcy and the National Banking Holiday, as well as
the sanctions on regimes like Cuba, North Korea, China, and North Vietnam to continue without the
President having to declare a new national emergency under !EEPA. See 50 U.S.C.A. App. 5, note.

10278. PROOF OF CLAIM- That as first adopted in 1976, the National Emergencies Act excluded from its

purview Section 5(b) of the Trading with the Enemy Act. As noted above, the law under which
President Roosevelt issued the declaration of national emergency with respect to the National
bankruptcy was never cancelled. With the Cold War sections under that act had also been used by
the executive branch as the legal basis for imposing economic sanctions on the communist nations
of North Korea, Cuba, China, and North Vietnam; and the National Emergencies Act had been
terminated, there would have been no other legal basis for continuing the sanctions against those
countries, accept to enact a set of new specific laws, Congress chose not to consider. As a
consequence, the State Department asked that Section 5(b) be excluded from the National
Emergencies Act until other legislation providing a basis for the continuation of

economic sanctions against those countries could be enacted. Is this not the case?

10279. PROOF OF CLAIM- That “Whenever in the judgment of the Secretary of the Treasury such

action is necessary to protect the currency system of the United State, the Secretary of
the Treasury, in his discretion, may regulate any or all individuals... Whoever shall not
comply with the provisions of this act shall be fined not more than $10,000 or if a natural person,
may in addition to such fine may be imprisoned for a year, not exceeding ten years.” [Stat 48,
Section 1, Title 1, Subsection N, March 9, 1933]; that it is under discretion and the direct supervision
of the United States treasury that the banking institutions are utilizing “bookkeeping entry credit”, and
because the law defines a “banking institution” as one who engages in the business of banking i.e.
banking business, during this current national banking emergency defined in law as bankruptcy, such
“bookkeeping entry credit utilization” is construed as currency of the United States, and may be
utilized for the payment and/or repayment of a loan instituted and or issued in the same species, is
this not so?

10280. PROOF OF CLAIM, that you notify the undersigned and/or the undersigned’s representative of

your attempt to deceive them, and that they knowingly and intentionally agreed to such deception,
for instance, if this matter involve the lending of credit, and/or a mortgage loan, proof that you
provided the borrower with evidence as to the origination of the loan, and the species of currency
utilized in the origination of the loan?

10281. PROOF OF CLAIM, that you have provided and/or will provide to the undersigned a copy of the

original contract in its current state, without alterations and or amendments, for we know that any
alteration and/or amendment on a contract has to be done in the presence of the other party with
the approval of the other party, and that if you have provided a copy prior to the issuance of this
document please provide proof and the date upon which such was done, and If you have not
provided a copy please provide a copy with your response, and failure to do so would be constituted
as a refusal on your part and a breach of this agreement invoking the tacit acquiescence and your
forfeiture and waiver of all rights and full consent to every provision of the agreement and the
penalties and assessment and fees associated therewith.

10282. PROOF OF CLAIM, that you provide a list of all of your subsidiaries, EIN numbers and the like,

plus a copy of your COMPREHENSIVE ANNUAL FINANCIAL REPORT for the past 10 years inclusive of
notes, ledgers, references, with term definitions within the next 14 calendar days, as the custodian
of record for this account, you are to highlight the Association of this account within those records,
failure to do so will invoke the default principles of this agreement and your full and complete
consent with all of the terms and conditions as well as penalties associated thereto, hereto,
therewith.

10283. PROOF OF CLAIM, that you will not attempt to circumvent the process after default, or after

your consent and approval and agreement to this presentment, and that you agree that any attempt

Page 6[12

Page 7 of 44

EXHIBIT-A |

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 8 of 44

| _EXHIBIT-A

to circumvent the process shall invoke and cause to be placed in full affect the treble damage
provision of this agreement plus, penalties, fines, assessment, fees.

10284. PROOF OF CLAIM, that you agree that if you should in any way attempt to evade, and or provide
a general response, and or refuse to respond, and or refuse to provide the evidence and information
and/or documents and/or records demanded, that you are guilty of fraud, deception, racketeering,
and you will not object to your full prosecution as an organization with the co-conspirators mainly
your Board of Directors if you are a corporation, with a minimum jail time of five years day for day
and a maximum not to exceed that of 65% of a proscribed law. And that such failure and/or refusal
on your part shail constitute your binding and willful consent to the relinquishing of the total value
of the claim of this agreement, payable on demand with your waiver to a defense, and or a trial, and
or hearing, and or notice, and or presentment, and or right to review and or right to appeal and or
right to object!

il. CAVEAT

10285. Please understand that while the Undersigned wants, wishes and desires to resolve this matter
as promptly as possible, the Undersigned can only do so upon Respondent(’s) ‘official response’ to
this Conditional Acceptance for Value and counter offer/claim for Proof of Claim by Respondent(’s)
providing the Undersigned with the requested and necessary Proof of Claims raised herein above.

10286. Therefore, as the Undersigned is not a signatory; NOR a party, to your “social compact” (contract)
known as the Constitution (Charter) of the UNITED STATES; NOR noticed NOR cognizant, of any
agreement/contract between the UNITED STATES, and the Undersigned and specifically any obtained
through FULL DISCLOSURE and containing any FAIR/VALUABLE CONSIDERATION therein, which would
act/operate to create and establish a “relationship” (nexus) and thereby; and therein, bind the
Undersigned to the specific “source of authority” for the creation and existence of the alleged
statute(s)/law(s) as contained and allegedly promulgated within the “Code” known as the United
States Code; which, with the privity of contract or contract itself would thereby; and therein, create
and establish legal force and or effect of said statute(s)/law(s) over and upon the Undersigned; and,
would also act/operate to subject the Undersigned to the “statutory jurisdiction” of the UNITED
STATES, its laws, venue, jurisdiction, and the like of its commercial courts/administrative
tribunals/units and thereby; and therein, bind the Undersigned to said courts/administrative
tribunal’s/unit's decisions, orders, judgments, and the like; and specifically as within the above
referenced alleged Commercial/Civil/Cause; and, which would act/operate to establish and confer
upon sald court/administrative tribunal/unit the necessary requirement/essential of “subject-matter
jurisdiction” without which it is powerless to move in any action other than to dismiss. And as a result
thereof the parties agree that any statute and/or code introduced by the United States Congress and
or state legislature under its non-governmental capacity i.e. it’s “corporate business commercial
transacting capacity”, are not binding on any of the parties, and cannot be introduced and or used as
any justification for any proceeding, and/or procedure, and or remedy respecting this matter. That
the arbitration process is binding on all parties and is the sole and exclusive remedy for redressing any
issue associated with this agreement. That this agreement supersedes and predates as well as
replaces any and all prior agreements between the parties, and is binding on all parties and
irrevocable, and the parties agreed to the terms and conditions of this agreement upon default of the
defaulting party as of the date of the default, that the value of this agreement is $740,040.33 (SEVEN
HUNDRED FORTY THOUSAND FORTY DOLLARS AND THIRTY-THREE CENT: 5), the amount demanded
is ($740,040.33). The Undersigned once more respectfully requests the Respondent(s) provide said
necessary Proof of Claims so as to resolve the Undersigned’s confusion and concerns within this/these
matter(s). Otherwise, the Undersigned must ask, “What is the Undersigned’s remedy?” ,

10287. THEREFORE, as Respondent(s) have superior knowledge of the law, and as custodian of record
has access to the requested and necessary Proof of Claims, and otherwise being in a ‘catbird’s seat’
to provide the requested and necessary Proof of Claims raised herein above, Respondent(s) is able,
capable, and most qualified to inform the Undersigned on those matters relating to and bearing upon
the above referenced alleged CIVIL/COMMERCIAL/Cause and thereby; that there is a duty on the
part of the parties to communicate and/or respond to the aforementioned proof of claim and/or
demand associated with this self-executing binding irrevocable contractual agreement coupled with
interests and therein, has an obligation to clear-up all confusion and concerns in said matter(s) for the
Undersigned as to the nature and cause of said process(s), proceeding(s), and the like as well as the

Page 7|12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 9 of 44
| _EXHIBIT-A__|

lawfulness and validity of such to include; inter ali, all decisions, orders, and the like within; and arising
from, all such within said Commercial/Civil/Cause.

10288. The Undersigned herein; and hereby, provides the Respondent(s) ten (10) Catendar days; to
commence the day after receipt of this Conditional Acceptance for Value and counter offer/claim for
Proof of Claim, in which to gather and provide the Undersigned with the requested and necessary
Proof of Claims raised herein above, with the instruction, to transmit said Proof of Claims to the
Undersigned and the below named Notary/Third Party and or their representative as stipulated and
attached hereto If applicable, for the sole purpose of certifying RESPONSE or want thereof from
Respondent(s). Further, the Undersigned herein; and hereby, extends to the Respondent(s) the offer
for an additional ten (10) Calendar days in which to provide the requested and necessary Proof of
Claims raised herein above. If Respondent(s) desires the additional ten (10) Calendar days,
Respondent must cause to be transmitted to the Undersigned and the below named Notary/Third
Party etc. al; a signed written REQUEST. Upon receipt thereof, the extension is automatic; however,
the Undersigned strongly recommends the Respondent(s) make request for the additional ten (10)
Calendar days well before the initial ten (10) Calendar days have elapse to allow for mailing time.
NOTICE: Should Respondent(s) make request for the additional ten (10) Calendar days, said request
will be deemed “good faith” on the part of Respondent(s) to perform to this offer and provide the
requested and necessary Proof of Claims. Should Respondent(s) upon making request for the
additional ten (10) Calendar days, of which there will be, cannot be, and shall not be any extension as
the aforementioned requested information is required to be readily available for inspection and
review upon demand, then fail or otherwise refuse to provide the requested and necessary Proof of
Claims, and/or fails to provide the specific information in full detail as specified according to the terms
of this agreement, and or shall cause to have presented a nonresponse, and or a general response,
and or a nonspecific response, which shall only constitute as an attempt to evade, to avoid, to delay,
said act(s) on the part of Respondent(s) shall be deemed and evidenced as an attempted constructive
fraud, deception, bad faith, and the like upon Respondent's (s’} part and further attempts to cause an
inflict Injury upon the Undersigned. Further, the Undersigned herein strongly recommends to
Respondent(s) that any Proof of Claims and request for the additional ten (10) Calendar days be
transmitted “Certified” Mail, Return Receipt Requested, and the contents therein under Proof of
Mailing for the good of all concerned.

10289. Should the Respondent(s) fail or otherwise refuse to provide the requested and necessary Proof
of Claims raised herein above within the expressed period of time established and set herein above,
Respondent(s} will have falled to State any claim upon which relief can be granted. Further,
Respondent(s) will have agreed and consented through “tacit acquiescence” to ALL the facts in
relation to the above referenced alleged Commercial/Civil/Cause, as raised herein above as Proof of
Claims herein; and ALL facts necessarily and of consequence arising there from, are true as they
operate in favor of the Undersigned, and that said facts shall stand as prima facie and ultimate (un-
refutable) between the parties to this Conditional Acceptance for Value and counter offer/claim for
Proof of Claim, the corporate Government juridical construct(s) Respondent(s) represents/serves, and
ALL officers, agents, employees, assigns, and the like in service to Respondent(s), as being undisputed.
Further, failure and/or refusal by Respondent(s) to provide the requested and necessary Proof of
Claims raised herein above shall act/operate as ratification by Respondent(s) that ALL facts as set,
established, and agreed upon between the parties to this Conditional Acceptance for Value and
counter offer/claim for Proof of Claim, are true, correct, complete, and NOT misleading.

MM. ARBITRATION- AN ADMINISTRATIVE REMEDY COGNIZABLE AT COMMON-LAW

10290. ADDITIONALLY it is exigent and of consequence for the Undersigned to inform Respondent(s), in
accordance with and pursuant to the principles and doctrines of “clean hands” and “good faith,” that
by Respondents(s) failure and or refusal to respond and provide the requested and necessary Proof
of Claims raised herein above and thereby; and it shall be held and noted and agreed to by all parties,
that a general response, a nonspecific response, or a failure to respond with specificities and facts and
conclusions of common law, and or to provide the requested information and documentation that is
necessary and in support of the agreement shall constitute a failure and a deliberate and intentional
refusal to respond and as a result thereby and or therein, expressing the defaulting party's consent
and agreement to said facts and as a result of the self-executing agreement, the following Is
contingent upon their failure to respond in good faith, with specificity, with facts and conclusions of
common-law to each and every averment, condition, and/or claim raised; as they operate in favor of
the Undersigned, through “tacit acquiescence,” Respondent(s) NOT ONLY expressly affirm the truth

Page 8/12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 10 of 44
| _EXHIBIT-a__|

and validity of said facts set, established, and agreed upon between the parties to this Conditional
Acceptance for Value and counter offer/claim for Proof of Claim, but Respondent(s); having agreed
and consented to Respondent(s) having a duty and obligation to provide the requested and necessary
Proof of Claims raised herein above, will create and establish for Respondent(s) an estoppel in this
matter(s), and ALL matters relating hereto; and arising necessarily therefrom; and,

10291. In accordance with and pursuant to this agreement; a contractually (consensual) binding
agreement between the parties to this Conditional Acceptance for Value and counter offer/claim for
Proof of Claim to include the corporate Government Agency/Department construct(s}) whom
Respondent(s) represents/serves; as well as, ALL officers, agents, employees, assigns, and the like in
service to Respondent(s) will not argue, controvert, oppose, or otherwise protest ANY of the facts
already agreed upon by the parties set and established herein; and necessarily and of consequence
arising therefrom, in ANY future remedial proceeding(s)/action(s), including binding arbitration and
confirmation of the award in the District Court of the United States at any competent court under
original jurisdiction, in accordance with the general principles of non-statutory Arbitration, wherein
this Conditional Acceptance for the Value/Agreement/Contract no. 2019-0108BRUCWSFCM—
$12389981-5577899811° constitutes an agreement of all interested parties in the event of a default
and acceptance through silence/failure to respond when a request for summary disposition of any
claims or particular issue may be requested and decided by the arbitrator, whereas a designated '
arbitrator shall be chosen at random, who is duly authorized, and in the event of any physical or
mental Incapacity to act as arbitrator, the Undersigned shall retain the authority to select any
neutral(s)/arbitrator(s) that qualify pursuant to the common law right to arbitration, as the arbitration
process is a private remedy decided upon between the parties, and with respects this agreement, the
defaulting party waives any and all rights, services, notices, and consents to the undersigned and or
the undersigned’s representative selection of the arbitrator thereby constituting agreement, and any
controversy or claim arising out of or relating in any way to this Agreement or with regard to its
formation, interpretation or breach, and any issues of substantive or procedural arbitrability shall be
settled by arbitration, and the arbitrator may hear and decide the controversy upon evidence
produced although a party who was duly notified of the arbitration proceeding did not appear; that
the Undersigned deems necessary to enforce the “good faith” of ALL parties hereto within without
respect to venue, jurisdiction, law, and forum the Undersigned deems appropriate.

10292. Further, Respondent(s) agrees the Undersigned can secure damages via financial lien on assets,
properties held by them or on their behalf for ALL injuries sustained and inflicted upon the
Undersigned for the moral wrongs committed against the Undersigned as set, established, agreed and
consented to herein by the parties hereto, to include but not limited to: constitutional impermissible
misapplication of statute(s)/law(s) in the above referenced alleged Commercial/Civil/Cause; fraud,
conspiracy (two or more involved); trespass of title, property, and the like; and, ALL other known and
unknown trespasses and moral wrongs committed through ultra vires act(s) of ALL involved herein;
whether by commission or omission. Final amount of damages to be calculated prior to submission of
Tort Claim and/or the filing of lien and the perfection of a security interest via a Uniform Commercial
Code financing 1 Statement; estimated in excess of TEN (10) Million dollars (USD- or other lawful
money or currency generally accepted with or by the financial markets in America), and notice to
Respondent(‘s) by invoice. Per Respondent(’s) failure and or refusal to provide the requested and
necessary Proof of Claims and thereby; and therein consenting and agreeing to ALL the facts set,
established, and agreed upon between the parties hereto, shall constitute a self-executing binding
irrevocable durable general power of attorney coupled with interests; this Conditional Acceptance for
Value and counter offer/claim for Proof of Claim becomes the security agreement under commercial
law whereby only the non-defaulting party becomes the secured party, the holder in due course, the
creditor in and at commerce. It is deemed and shall always and forever be held that the undersigned
and any and all property, interest, assets, estates, trusts commercial or otherwise shall be deemed
consumer and household goods not-for-profit and or gain, private property, and exempt, not for
commercial use, nontaxable as defined by the Uniform Commercial Code article 9 section 102 and
article 9 section 109 and shall not in any point and/or manner, past, present and/or future be
construed otherwise- see the Uniform Commercial Code article 3, 8, and 9.

10293. Should Respondent(s) allow the ten (10) Calendar days or twenty (20) Calendar days total if
request was made by signed written application for the additional ten (10) Calendar days to elapse
without providing the requested and necessary Proof of Claims, Respondent(s) will go into fault and
the Undersigned will cause to be transmitted a Notice of Fault and Opportunity to Cure and Contest 4
Acceptance to the Respondent(s); wherein, Respondent(s) will be given an additional three (3) days

Page 9| 12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 11 of 44
| EXHIBIT-A |

(72 hours) to cure Respondent's (s’) fault. Should Respondent(s) fail or otherwise refuse to cure
Respondent’s(s’) fault, Respondent will be found in default and thereby; and therein, Respondent will
have established Respondent’s(s’) consent and agreement to the facts contained within this
Conditional Acceptance for Value and counter offer/claim for Proof of Claim as said facts operate in
favor of the Undersigned; e.g., that the judgment of alleged “court of record” within the above
referenced alleged Commercial/Civil/Cause is VOID AB INITIO for want of subject-matter
jurisdiction of said venue; insufficient document (Information) and affidavits in support thereof for
want of establishing a claim of debt; want of Relationship with the “source of authority” for said
statute(s)/law(s) for want of privity of contract, or contract itself; improperly identified parties to said
Judgment, as well as said dispute/matter; and, Respondent(s) agrees and consents that Respondent(s)
does have a duty and obligation to Undersigned; as well as the corporate Government
Department/agency construct(s} Respondent(s) represents/serves, to correct the record in the above
referenced alleged Commercial/Civil/Cause and thereby; and therein, release the indenture
(however termed/styled) upon the Undersigned and cause the Undersigned to be restored to liberty,
and releasing the Undersigned’s property rights, as well as ALL property held under a storage contract
in the “name” of the all-capital-letter “named” defendant within the above referenced alleged
Commercial/Civil/Cause within the alleged commercially “bonded” warehousing agency d.b.a., for
the commercial corporate Government construct d.b.a. the United States. That this presentment is to
be construed contextually and not otherwise, and that if any portion and/or provision contained
within this presentment, this self-executing binding irrevocable contractual agreement coupled with
interests, is deemed non-binding it shall in no way affect any other portion of this presentment. That
the arbitrator is permitted and allowed to adjust the arbitration award to no less than two times the
original value of the properties associated with this agreement, plus the addition of fines, penalties,
and other assessments that are deemed reasonable to the arbitrator upon presentment of such claim,
supported by prima facie evidence of the claim.

10294. The defaulting party will be estopped from maintaining or enforcing the original
offer/presentment; i.e., the above referenced alleged Commercial/Civil/Cause as well as ALL
commercial paper (negotiable instruments) therein, within any court or administrative tribunal/unit
within any venue, jurisdiction, and forum the Undersigned may deem appropriate to proceed within
in the event of ANY and ALL breach(s) of this agreement by Respondent(s) to compel specific
performance and or damages arising from injuries there from. The defaulting party will be foreclosed
by laches and or estoppel from maintaining or enforcing the original offer/presentment in any mode
or manner whatsoever, at any time, within any proceeding/action. Furthermore, the respondents are
foreclosed against the enforcement, retaliation, assault, infringement, imprisonment, trespass upon
the rights, properties, estate, person whether legal, natural or otherwise of the presenter/petitioner
and/or his interest and/or his estate retroactively, at present, post-actively, forever under any
circumstances, guise, and or presumption!

WV. NOTICE OF COMMON-LAW ARBITRATION:

10295. Please be advised that in-as-much as the Undersigned has “secured” the “interest” in the “name”
of the all-capital-letter “named” defendant as employed/used upon the face; and within, ALL
documents/instruments/records within the above referenced alleged Commercial/Civil/Cause, to
Include any and all derivatives and variations in the spelling of said “name” except the “true name” of
the Undersigned as appearing within the Undersigned’s signature block herein below, through a
Common-Law Copyright, filed for record within the Office of the Secretary of State, Columbia State of
South Carolina and or Sacramento State of California and or Las Vegas State of Nevada, and, having
“perfected said interest” in same through incorporation within a Financing (and all amendments and
transcending filings thereto), by reference therein, the Undersigned hereby; and herein, waives the "
Undersigned’s rights as set, established, and the like therein, and as “perfected” within said Financing
Statement acting/operating to “register” said Copyright, to allow for the Respondent(s) to enter the
record of the alleged “court of record’ within the above referenced alleged
Commercial/Civil/Cause for the SOLE purpose to correct said record and comply with
Respondent’s(s’) agreed upon duty/obligation to write the “order” and cause same to be transmitted
to restore and release the Undersigned, the Undersigned’s corpus, and ALL property currently under
a “storage contract” under the Undersigned’s Common-Law Copyrighted trade-name; ie., the all-
capital-letter “named” defendant within the above referenced alleged Commercial/Civil/Cause,
within the alleged commercially “bonded” warehousing agency d.b.a. the commercial corporate
Government juridical construct d.b.a. the United States. Please take special note, that the copyright
is with reference to the name and its direct association and/or correlation to the presenter.

Page 10|12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 12 of 44

| EXHIBIT-A

10296. NOTICE: That the arbitrators "must not necessarily judge according to the strict law but as a

general rule ought chiefly to consider the principles of practical business" Noe Atlas Insurance Cov London General
Insurance Co (1927) 28 Uoyds Ust Rep 104

“internationally accepted principles of law governing contractual relations"! Deutsche Schachebau v a’as oF
Khaimah National OF Co (1990} 1 AC 295]
If the contract (valid or otherwise) contains an arbitration clause, then the proper forum to

determine whether the contract is void or not, is the arbitration tribunal. fe emole, see Heyman v Derwins
td, (1942] AC 356]

° That any determination by the arbitrator is binding upon all parties, and that all parties agree to abide by the dectslon of the arbitrator, that the arbitrator
{sto render a decision based upon the facts and conclusions as presented within the terms and conditions of the contract. Any default by any party must
be supported by proof and evidence of sald default, that defautt shall serve as tacit acquiescence on behalf of the party who defaulted as having agreed

to the terms and conditions with the self. binding contract coupled with | That the arb bs from
considering and/or relying on statutory law, as it has been held that any time any party relies on or enforces a statute, they possess no judiclal power

e “A judge ceases to set as a judicial officer because the ec of law provides that courts are prohibited from substituting
their evid record, and for that of the agency. Ad courts are proh from thelr sub their

Judgments for that of the agency.” AiS/ v US, 568 F2d 284.

° “Judges who become Involved in enforcement of mere statutes (civil or criminal in nature and otherwise), act as mere “clerks” of the Involved agency...”
K.C Davis, ADMIN. LAW, Ch. 1 (CTP. West's 1965 Ed.)

. * their supposed ‘court’ becoming thus a court of limited jurisdiction’ as a mere extension of the Involved agency for mere superior reviewing purposes.”
K.C, Davis, ADMIN. LAW, P. 95, (CTP, 6 Ed. West's 1977} FRC v G.E. 281 US 464; KeHer v PE, 261 US 428.

° “when acting to enforce a statute, the judge of the municipal court is acting an administrative officer and not as a Judicial capacity; courts In
administrating or enforcing statutes do not act judicially. but, merely admintsterialiy." Thompson v Smith. 155 Va. 376. 154 SE 583, 71 ALR 604.

. “it Is basic in our law that an administrative agency may act only within the area of Jurisdiction marked out for it by law. If an individual does not come
within the coverage of the particular agency's enabting legislation the agency is without power to take any action which affects him." Endicott v Perkins,
317 US S01

. “Itis not every act, legislative In form, that is law. Law is something more than mere will exerted as an act of power...Arbitrary power, enforcing its edicts
to the Injury of the person and property of its subjects is not law." Hurtado v. California (1884) 110 US S15 (1984).

° Same of the afe d cases are not these are still fi pies of law, and one of the fundamental principles of
arbitration is that the arbitrator sits as judge over the facts, and as such to preserve the sanctity of the Pracess an arbitrator receives the same Immunity
&s a judge and Is exempt from prosecution and or review, unless it can be proved that the arbi Ignored the evid: and acted In
conspiracy to defraud the parties.

10297. As the Undersigned has no desire NOR wish to tie the hands of Respondent(s) in performing
Respondent’s(s’) agreed upon duty/obligation as set, established, and agreed upon within this
Conditional Acceptance for Value and counter offer/claim for Proof of Claim and thereby create/cause
a “breach” of said contractually binding agreement on the part of the Respondent(s), Respondent(s)
is hereby; and herein, NOTICED that if this waiver of said Copyright is not liberal, NOR extensive
enough, to allow for the Respondent(s) to specifically perform all duties/obligations as set,
established, and agreed upon within the Conditional Acceptance for Value and counter offer/claim
for Proof of Claim: Respondent(s) may; in “good faith” and NOT in fraud of the Undersigned, take all
needed and required liberties with said Copyright and this waiver in order to fulfill and accomplish
Respondent’s(s’) duties/obligations set, established, and agreed upon between the parties to this
agreement.

10298. If Respondent(s) has any questions and or concerns regarding sald Copyright and or the waiver,
Respondent(s) is invited to address such questions and or concerns to the Undersigned in writing, and
causing said communiqués to be transmitted to the Undersigned and below named Notary/Third
Party. The respondents have acted as if the contract quasi-or otherwise does not place a binding
obligation upon their persons, upon their organizations, upon their institutions, upon their job
qualifications, and breaching that obligation breaches the contract, for which they cannot address
due to the direct conflict of interest. It is as a result of that conflict of interest that binding arbitration
shall be instituted

10299. Your failure to respond, and this would include each of the respondents by their representative,
and if represented by the Atty. Gen., such representation must be responsive for each State and/or
State organization/department/agency, separately and severally to each of the points of averment,
failure to respond to a single point of averment will constitute acquiescence, forfeiture, and a waiver
of all rights with respects all of the points raised in this presentment.

V. NOTICE TO AGENT IS NOTICE TO PRINCIPLE AND VICE VERSA

Page 11|12
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

10300. NOTICE: In this Conditional Acceptance for Value and counter offer/claim for Proof of Claim(a)
the words “include,” “includes,” and “including,” are not limiting; (b) the word “all” includes “any”
and the word “any” includes “ali”; (c) the word “or” is not exclusive except when used in conjunction
with the word “and”; as in, “and/or”; and (d) words and terms (i) in the singular number include the
plural, and in the plural, the singular; (ii) in the masculine gender include both feminine and neuter.

10301. This presentment shall constitute a CLAIM against the assets of your institution and is valid upon
your failure to comply with the requirement of this agreement and to VALIDATE NOT VERIFY THE
COMPREHENSIVE ACCOUNTING!

10302. NOTICE: All titles/names/appellations of corporate Government juridical constructs, and
branches, departments, agencies, bureaus, offices, sub-whatever’s, and the like thereof, include any
and all derivatives and variations in the spelling of said titles/names/appellations.

10303. NOTICE: Any and all attempts at providing the requested and necessary Proof of Claims raised
herein above; and, requesting the additional ten (10) Calendar days in which to provide same; and, to
address any and all questions and concerns to the Undersigned in regards to the Stated Copyright and
waiver herein expressed, in any manner other than that provided for herein will be deemed non-
responsive.

The Undersigned extends to the Respondent(s) the Undersigned’s appreciations and thanks for
Respondent’s(s) prompt attention, response, production of above Proof(s) of Claim and assistance in
this/these matter(s). This presentment is not to be construed as an acceptance and/or application and/or
subscription and/or request for license, admittance to any jurisdiction quasi-or otherwise. But shall
remain as a direct objection to any and all claims to the contrary.

Sincerely,

Without Recourse

bu 1-B-Ael9

Nelson L. Bruce a Natural Man

2018 S3CRERVOWSFCU $ 12380881 9577693511

2035-0108BRUCWSFCM-S12389981- 5577899811° Is secured and reserved with all rights retained, Private Property no trespass permitted or allowed under common law

restrictions and prohibitions.

(THE REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK)

Page 12|12

Page 13 of 44

EXHIBIT-A |

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

NUMBER: SAA-2227SG-3P651G3-C4A90YA-9984748 ATO0A-NB-001

SITCOMM ARBITRATION ASSOCIATION
1001 South White Oak Road
White Oak, Texas 75693
+ 1(877) 631-1722
Website: saalimited.com Email: support@saalimited.com

FINAL ARBITRATION AWARD

itting in i mposition:

Committee Member: Alden A. Bennett

Houston, Texas

Arbitrator: Sandra Goulette
Laurel, Mississippi

In the Matter of the Arbitration Between the Following Parties:

NELSON L. BRUCE, ET AL.,
CLAIMANT,
v. Contract No.: SAANB-A70A-051319-SLG

WILMINGTON SAVINGS FUND SOCIETY, FSB - Attention: Mark A. Turner (CEO), ET
AL.,

ALBERTELLI LAW-William S. Koehler on behalf of WILMINGTON SAVINGS FUND
SOCIETY, FSB, ET AL.,

The District Court of the United States - Charleston Division/Civil, ET AL,
CARRINGTON MORTGAGE SERVICES, LLC - Attention: Bruce Rose (CEO), ET AL.,
The UNITED STATES OF AMERICA - UNITED STATES ATTORNEY GENERAL at
United States Department of Justice, ET AL.,

The United States Supreme Court - Chief Justice John Glover Roberts dr. ET AL.,

The South Carolina Supreme Court - ATTENTION: Chief Justice Donald W. Beatty, ET
AL.,

The United States Department of Agriculture - Fiscal Service, Director, Finance Office, ET
AL.,

State of South Carolina Attorney General's Office - Attention Attorney General Alan
Wilson, ET AL..,

South Carolina Housing Trust Fund - SC Housing Corp - c/o Tracey C. Easton, ET AL.,
GOVERNOR OF THE STATE OF SOUTH CAROLINA - State House - Attention The
Honorable Henry McMaster, ET AL.,

United States House of Representatives - Attention: Joe Cunningham, ET AL.,

The South Carolina State Treasurer - OFFICE OF THE STATE TREASURER and or their
assigns - Attention: State Treasurer Curtis M. Loftis, Jr., ET AL.,

South Carolina House of Representatives - South Carolina Legislative Council and/or their
assigns - Attention: Mandy W. Kimmons, ET AL.,

The Treasurer of the United States - Office of the Treasurer and or their assigns, ET AL,
Dorchester County Courthouse — Common Pleas/Civil/Circuit Court, Judge Diane S. Goods,
Et AL,

BANK OF AMERICA, N.A. ~ C/O BANK OF AMERICA CORPORATION - Brian
Moynihan, CEO, Et Al.

RESPONDENT(S). 9 UNITED STATES CODES §1, §2, AND §9
THE COMMON LAW

SEALED.

SITCOMM ARBITRATION ASSOCIATION Page 1 of 22

Page 14 of 44

| __ EXHIBIT-B

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 15 of 44

NUMBER: SAA-22Z,7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 | EXHIBIT -B |

IN THE MATTER OF THE ARBITRATION BETWEEN:

§
NELSON L. BRUCE, ET AL., §
§
§ Contract No.: SAANB-A70A-051319-SLG
CLAIMANT, §
v. § RESOLUTION TO DISPUTE
§ RESOLUTION COMPLAINT
§
WILMINGTON SAVINGS FUND, ET AL, §
§
§ 9 UNITED STATES CODES
§ §1, §2, AND §9
RESPONDENT(S). §
§ THE COMMON LAW
§
§ SEALED.
FINAL ARBITRATION AWARD

Breach or violation of required contract terma:
The parties have agreed that a judgment of the court shall be entered upon the award made

pursuant to the arbitration, and shall specify the court, then at any time within one year after the
award is made any party to the arbitration may apply to the court so specified for an order
confirming the award, and thereupon the court must grant such an order unless the award is
vacated, modified, or corrected as prescribed in sections 10 and 11 of this Title. If no court is
specified in the agreement of the parties, then such application may be made to the United States
court in and for the district within which such award was made. Notice of the application shall be
served upon the adverse party and thereupon the court shall have jurisdiction of euch party as
though they had appeared generally in the proceeding. If the adverse party is a resident of the
district within which the award was made, such service chall be made upon the adverse party or
their attorney as prescribed by law for service of notice of motion in an action in the same court. If
the adverse party shall be a nonresident, then the notice of the application ahall be served by the
marshal of any district within which the adverse party may be found in like manner as other process
of the court.!

Arbitrators Name: _— Sandra Goulette
Hearing Location: Laurel, Mississippi
This Arbitrator, Sandra Goulette; having considered the Claimant's request for dispute
resolution on complaint, finds the following:
Jurisdictional Allegations:
1. This Arbitrator has Subject Matter Jurisdiction, SMJ; as acknowledged by 9 U.S.

Codes §1, §2, §9; 28 U.S. Code §§ 1346; and the established common law not limited to the following
specifics:

a. That Nelson L. Bruce is a citizen of the state of South Carolina: -
b. That the Respondent(s)
WILMINGTON SAVINGS FUND SOCIETY, FSB - Attention: Mark A. Turner (CEO), ET AL.,

' July 30, 1947, Ch. 392, 61 Stat. 672.

SITCOMM ARBITRATION ASSOCIATION Page 2 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 16 of 44

NUMBER: SAA-222.7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 EXHIBIT - B ‘|

ALBERTELLI LAW-William S. Koehler on behalf of WILMINGTON SAVINGS FUND SOCIETY,
FSB, ET AL.,

The District Court of the United States - Charleston Division/Civil, ET Al,
CARRINGTON MORTGAGE SERVICES, LLC - Attention: Bruce Rose (CEO), ET AL.,

The UNITED STATES OF AMERICA - UNITED STATES ATTORNEY GENERAL at United States
Department of Justice, ET AL.,

The United States Supreme Court - Chief J ustice John Glover Roberts Jr. ET AL.,

The South Carolina Supreme Court - ATTENTION: Chief Justice Donald W. Beatty, ET AL.,

The United States Department of Agriculture - Fiscal Service, Director, Finance Office, ET AL.,
State of South Carolina Attorney General's Office - Attention Attorney General Alan Wilson, ET AL.,
South Carolina Housing Trust Fund - SC Housing Corp - c/o Tracey C. Easton, ET AL.,

GOVERNOR OF THE STATE OF SOUTH CAROLINA - State House - Attention The Honorable
Henry McMaster, ET AL.,

United States House of Representatives - Attention: Joe Cunningham, ET AL.,

The South Carolina State Treasurer - OFFICE OF THE STATE TREASURER and or their assigns -
Attention: State Treasurer Curtis M. Loftis, Jr., ET AL.,

South Carolina House of Representatives - South Carolina Legislative Council and/or their assigns -
Attention: Mandy W. Kimmons, ET AL.,

The Treasurer of the United States - Office of the Treasurer and or their assigna, ET AL.,
Dorchester County Courthouse — Common Pleas/Civil/Cireuit Court, Judge Diane S. Goods, Et AL,

BANK OF AMERICA, N.A. — C/O BANK OF AMERICA CORPORATION — Brian Moynihan, CEO,
Et AL

.-- Have entered into an agreement whereby they knowingly and intentionally agreed to
the following “... Failure and or refusal to respond and provide the requested and necessary Proof of
Claims shall be held and noted as agreed to by all parties, that a general response, a nonspecific
response, or a failure to respond with specificities and facts and conclusions of common law, and/or to
provide the requested information and documentation that is necessary and in support of the
agreement shall constitute a failure and a deliberate and intentional refusal to respond and asa
result thereby and/or therein, expressing the defaulting party’s coneent and agreement to said facts
and as a result of the self-executing agreement, the following is contingent upon their failure to
respond in good faith, with specificity, with facts and conclusions of common-law to each and every
averment, condition, and/or claim raised: as they operate in favor of the Claimant, through “tacit
acquiescence.” Respondent(s) NOT ONLY expressly affirm the truth and validity of said facts set,
established, and agreed upon between the parties to the Conditional Acceptance for Value and
counter offer/claim for Proof of Claim, also Respondent(s); have agreed and consented to
Respondent(s) having a duty and obligation to provide the requested and necessary Proof of Claims
which has created and established for Respondent(s) an estoppel in this matter(s), and ALL
matter(a) relating hereto; and arising necessarily therefrom; and
2. The above-captioned matter was set for arbitration after the receipt of the application
and dispute resolution complaint on March 15, 2019; and

3. This Arbitrator has notified all parties listed above (a copy of proof of notification is

SITCOMM ARBITRATION ASSOCIATION Page 3 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 17 of 44

NUMBER: SAA-Z227SG-3P651G3-C4A9OYA-9984748 A70A-NB-001 EXHIBIT -B

permanently affixed to this record by reference) granting each party the opportunity to submit
documentation, records, proofs, evidence, exhibits, affidavits related to the instant matter, the
contract 2019-0108BRUCWSFCM-S1238998 1-5577899811°, its terms, premises, promises, and
obligations on or about January 08, 2019; and

4. The Respondent(s) in a related action have made a claim against the Claimant of this
instant matter related to the Claimant's interests and/or properties. There exists a matter in dispute
and/or controversy associated with the contractual agreement, thereby extending jurisdiction to this
body to proceed as per the terms of the agreement, as well as relevant laws and facts in support as
presented during the arbitration of this controversy; and

5. The parties entered into a legally binding contractual relationship with each other and

this Arbitrator finds that there is no fraud and/or any attempt to induce fraud and/or to commit
fraud, and/or inducement of contract, and/or fraud in the factum respecting the instant matter and
contract. Thus, the parties are bound by the terms and obligations agreed upon and imposed upon
them as a direct result of the contractual agreement; and

6. This Arbitrator finds that all the elements that form a contractual agreement and a legally
commercial binding obligatory relationship are present; and

7. The contract clearly expresses the method of settlement and resolution of all disputes
arising thereunder shall be settled by arbitration under the authority of the standards of common-
law arbitration, the Federal Arbitration Act, and further stipulated and appointed this Arbitrator
listed herein as agreed upon as the Arbitrator of record. Neither party has objected, protested, and/or
attempted to amend any portion and/or provision at any time of the contract; the contract status that
all final and binding arbitration awards may be confirmed by any court in America having original
jurisdiction pursuant to Title 9 United States Codes §9 and §13; and

8. It has been alleged and thoroughly proven that the Respondent(s) listed above have by

their own accord agreed to all the terms of the contract, that they have committed the offenses
claimed in the contract and have acted against the interests of the Claimant's, depriving them of
their right to property, their right to contract, the right to The Pursuit of Happiness and the
enjoyment of life. They have admitted and agreed that they have violated the Claimant's
constitutional and common law rights, that they had intentionally, knowingly and deliberately failed
to perform as agreed, have forsook their obligatory duty of care and thus created a dispute that
requires a resolution by SITCOMM ARBITRATION ASSOCIATION (Hereinafter “SAA”) and/or any
subsequent award; and

9. The parties stipulated and agreed that the related matters including any judgments
associated thereto, any claims, and any collateral attacks; by the Respondent(s) are null and void of
any effect and shall not be binding on the Claimant retroactively and henceforth; and

10. The contract stated that punitive damages can be optionally asseased, however; the

SITCOMM ARBITRATION ASSOCIATION Page 4 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 18 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A9OYA-9984748 AT0A-NB-001 | EXHIBIT -B

contract remains silent as to any case that would direct the Arbitrator to direct a formula to
determine punitive damages. It is deemed that punitive damages may be warranted if the
Respondent(a) do not voluntarily comply with this award. In such an event, this Arbitrator may
impose punitive damages at a rate of three times the amount of the actual damages in addition to
other remedies awarded.®

11. The parties did have a prior relationship and the Respondent(s) had an obligation to
respond to the reasonable requests of the Claimant. One of those requests being that the
Respondent(s) provide an accounting and that such accounting be truthful and certified as being
wholly accurate. As the custodian of record, a position for which the Respondent(s) volunteered,
accepted such responsibility and have yet to rebut such a presumption. This Arbitrator finds that
they were duty-bound and have breached their fiduciary duty of care, supporting their willful and
intentional as well as deliberate default respecting the irrevocable binding contractual agreement
that is coupled with interests; and

12. Further, this Arbitrator finds that the contractual agreement does highlight and note a
settlement offer whereby the parties stipulate within the body and framework of the agreement
(“Contract” “Agreement”) in line with the Tucker Act and have agreed to certain and specific terms
under and in line with the contractual agreement; and

13. There is complete diversity of citizenship between the parties; and

14. The amount in controversy exceeds the sum of $75,000.00, exclusive of interest, costs,

fees and assessments; and

16. That the venue is proper in any court of original jurisdiction wherein either the

Arbitrator resides or chosen by the Claimant as stipulated in the contractual agreement and that
any orders compelling witness attendance, provisional remedies, equitable relief, interim awards are
to be issued and enforced according to the terms of the contract ae stipulated in the agreement; and
16. That the parties have agreed that all pre-existing as well as existing contractual
Agreements between the parties, no matter their scope, subject matter, and/or detail are superseded
and extinguished by the contractual agreement referenced and related hereto; and

Should the Claimant elect; that jurisdiction for the final award may be had under the Tucker Act in
the United States Court of Federal claims as the exclusive jurisdiction for said Court of Claims for
damages against the United States under contract in excess of $10,000.00. Since this matter is
against an institution registered and licensed with the United States, during the time of its conduct
is construed as one and the same as a matter of law; the Federal Court of Claims would be at the
election of the Claimant, a chosen proper jurisdiction to have the matter determined under common-

law and/or as stipulated in the contract at any court of original jurisdiction.

? Pacific Mutual Life Insurance Company vs. Haslip, 499 US 1 (1991).

SITCOMM ARBITRATION ASSOCIATION Page 5 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 19 of 44

NUMBER: SAA-Z227SG-3P651G3-C4A9OYA-9984748 AT0A-NB-001 | EXHIBIT -B

BASIS FOR ARBITRATION:

17. On or about January 08, 2019: The Claimant and the Respondent(s) entered into a written,
self-executing, binding, irrevocable, contractual agreement coupled with interests, for the complete
resolution of their misconvictions and other conflicts respecting their previous relationship. The
Respondent(s) made an attempt to change the terms of that contractual agreement and the Claimant
presented a counter offer or conditional acceptance of the offer to the Respondent(s). The record
clearly documents that the Respondent(s) have failed to properly respond after they received the
counter offer, whereby such nonresponse would equate to tacit acquiescence thereby creating an
estoppel respecting the Respondent(s) and any future claims and/or prior claims and/or present
claims associated with this instant matter.

18. It appears that a dispute has arisen under the agreement between the parties and it is

the subject matter at bar. The Claimant contends that after agreeing to the terms of the contract,
the Respondent(s) have failed to fully perform to the terms of the agreement and that the Claimant
is entitled to immediate and unconditional remedy as prescribed within the terms of the contractual
agreement. The Claimant has demanded liquidation of the estate/trust and the Respondent(s) have
failed to act.

19. The contractual agreement stipulates that the Arbitrator may adjust the amount of the
award to include fees, adjustments, costs, and other expenses.

20. The contractual agreement provided for arbitration of disputes at SITCOMM
ARBITRATION ASSOCIATION, which stated in relevant part:

That the arbitration process is binding on all parties and is the sole and exclusive remedy for
redressing any issue associated with this agreement. That this agreement supersedes and predates
as well as replaces any and all prior agreements between the parties, and is binding on all parties
and irrevocable, and the parties agreed to the terms and conditions of this agreement upon default of
the defaulting party as of the date of the default...

ARBITRATION: AN ADMINISTRATIVE REMEDY COGNIZABLE AT COMMON: “LAW

21. ADDITIONALLY, it is exigent and of consequence for the Claimant to inform Respondent(s),
in accordance with and pursuant to the principles and doctrines of “clean hands” and “good faith,”
that by Respondent(s) failure and/or refusal to respond and provide the requested and necessary
Proof of Claims; it shall be held and noted and agreed to by alt parties, that a general response, a
nonspecific response, or a failure to respond with specificities and facts and conclusions of common
law, and/or to provide the requested information and documentation that is necessary and in support
of the agreement shall constitute a failure and a deliberate and intentional refusal to respond and as
a result thereby and/or therein, expressing the defaulting party’s consent and agreement to said
facts and as a result of the self-executing agreement, the following is contingent upon their failure to

respond in good faith, with specificity, with facts and conclusions of common-law to each and every

SITCOMM ARBITRATION ASSOCIATION Page 6 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 20 of 44

NUMBER: SAA-22Z7SG-3P651G3-C4A9OYA-9984748 AT0A-NB-001 | EXHIBIT -B

averment, condition, and/or claim raised: as they operate in favor of the Claimant, through “tacit
acquiescence,” Respondent(s) NOT ONLY expressly affirm the truth and validity of said facts set,
established, and agreed upon between the parties to the Conditional Acceptance for Value and
counter offer/claim for Proof of Claim and Respondent(s); have agreed and consented to
Respondent(s) having a duty and obligation to provide the requested and necessary Proof of Claims
which will create and establish for Respondent(s) an estoppel in this matter(s), and ALL matters
relating hereto; and arising necessarily therefrom; and

22, —_ In accordance with and pursuant to this agreement; a contractually (consensual) binding
agreement between the parties to the Conditional Acceptance for Value and counter offer/claim for
Proof of Claim to include the corporate Government Agency/Department construct(s) whom
Respondent(s) represents/serves; as well as, ALL officers, agents, employees, assigns, and the like in
service to Respondent(s) will not argue, controvert, oppose, or otherwise protest ANY of the facts
already agreed upon by the parties set and establiahed herein; and necessarily and of consequence
arising therefrom, in ANY future remedial proceeding(s)/action(s), including binding arbitration and
confirmation of the award in the District Court of the United States at any competent court under
original jurisdiction, in accordance with the general principles of non-statutory Arbitration, wherein
the Conditional Acceptance for the Value/Agreement/Contract no. 2019-0108BRUCWSFCM-
S812389981-5577899811° constitutes an agreement of all interested parties in the event of a default
and acceptance through silence/failure to respond when a request for summary disposition of any
claims or particular issue may be requested and decided by the Arbitrator, whereas a designated
Arbitrator was chosen at random, who is duly authorized, and in the event of any physical or mental
incapacity to act as Arbitrator, the Claimant shall retain the authority to select any
neutral(s)/Arbitrator(s) that qualify pursuant to the common law right to arbitration, as the
arbitration process is a private remedy decided upon between the parties and with respect to this
contractual agreement; the defaulting party waives any and all rights, services, notices, and consents
to the Claimant and or the Claimant's representative selection of the Arbitrator thereby constituting
agreement and any controversy or claim arising out of or relating in any way to this Agreement or
with regard to its formation, interpretation or breach, and any issues of substantive or procedural
arbitrability shall be settled by arbitration, and the Arbitrator may hear and decide the controversy
upon evidence produced although a party who was duly notified of the arbitration proceeding did not
appear; that the Claimant deems necessary to enforce the “good faith” of ALL parties hereto within
without respect to venue, jurisdiction, law, and forum the Claimant deems appropriate. “An
arbitrator's award should not be vacated for errors of law and fact committed by the arbitrator and

the courts should not attempt to mold the award to conform to their sense of justice.”8

3 Aftor v. Geico Insurance Co., 110 AD3d 1062, 974 NYS2d 95 (2nd Dept., 2013).

SITCOMM ARBITRATION ASSOCIATION Page 7 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 21 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 A70A-NB-001 EXHIBIT -B

23. Further, Respondent(s) agree that the Claimant can secure damages via financial lien on
assets, properties held by them or on their behalf for ALL injuries sustained and inflicted upon the
Claimant for the moral wrongs committed against the Claimant as set, established, agreed and
consented to herein by the parties hereto, to include but not limited to: constitutional impermissible
misapplication of statute(s)/law(s) in the above referenced alleged Commercial/Civil/Cause; fraud,
conspiracy (two or more involved); trespass of title, property, and the like; and, ALL other known
and unknown trespasses and moral wrongs committed through ultra vires act(s) of ALL involved
herein; whether by commission or omission. Final amount of damages to be calculated prior to
submission of Tort Claim and/or the filing of lien and the perfection of a security interest via a
Uniform Commercial Code Financing One (1) Statement; estimated in excess of TEN (10) Million
dollars (USD- or other lawful money or currency generally accepted with or by the financial markets
in America) and notice to Respondent(s) by invoice. Per Respondent(s) failure and/or refusal to
provide the requested and necessary Proof of Claims and thereby; and therein consenting and
agreeing to ALL the facts set, established, and agreed upon between the parties hereto, shall
constitute a self-executing binding irrevocable durable general power of attorney coupled with
interests. This Conditional Acceptance for Value and counter offer/claim for Proof of Claim becomes
the security agreement under commercial law whereby only the non-defaulting party becomes the
secured party, the holder in due course, the creditor in and at commerce. It is deemed and shall
always and forever be held that the Claimant and all property, interest, assets, estates, trusts
commercial or otherwise shall be deemed consumer and household goods not-for-profit and or gain,
private property, and exempt, not for commercial use, nontaxable as defined by the Uniform
Commercial Code Article 9 §102 and Article 9 §109 and shall not in any point and/or manner, past,
present and/or future be construed otherwise- see the Uniform Commercial Code Articles 3, 8, and 9.
24. Respondent(s) have allowed the ten (10) Calendar days or twenty (20) Calendar days total if
request was made by signed written application for the additional ten (10) Calendar daya to elapse
without providing the requested and necessary Proof of Claims for which Respondent(s) have entered
into fault and the Claimant has transmitted a Notice of Fault and Opportunity to Cure and Contest
Acceptance to the Respondent(s); wherein Respondent(s) were given an additional three (3) days (72
hours) to cure Respondent(s) fault. Respondent(s) failed or otherwise refused to cure Respondent(a)
fault and Respondent(s) are found in default and thereby; and therein, Respondent(s) have
established Respondent(s) consent and agreement to the facts contained within the Conditional
Acceptance for Value and counter offer/claim for Proof of Claim as said facts operate in favor of the
Claimant; e.g., that the judgment of alleged “court of record” within the above referenced alleged
Commercial/Civil/Cause is VOID AB INITIO for want of subject-matter jurisdiction of said venue;
insufficient document (Information) and affidavits in support thereof for want of establishing a claim
of debt; want of Relationship with the “source of authority” for eaid statute(s)/law(a) for want of

SITCOMM ARBITRATION ASSOCIATION Page 8 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 22 of 44

NUMBER: SAA-2277SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 | EXHIBIT -B

privity of contract, or contract itself; improperly identified parties to said judgment, as well as said
dispute/matter; and,

25. Respondent(s) agreed and consented that Respondent(s) do have a duty and obligation to
Claimant; as well as the corporate Government Department/agency construct(s) Respondent(s)
representa/serves, to correct the record in the alleged Commercial/Civil/Cause and thereby; and
therein, release the indenture (however termed/styled) upon the Claimant and cause the Claimant to
be restored to liberty and release the Claimant's property righta, as well as ALL property held under
a storage contract in the “name” of the all-capital-letter “named” defendant within the alleged
Commercial/Civil/Cause within the alleged commercially “bonded” warehousing agency d.b.a., for the
commercial corporate Government construct d.b.a. the United States. That this arbitration award is
to be construed contextually and not otherwise and that if any portion and/or provision contained
within this arbitration award, the self-executing binding irrevocable contractual agreement coupled
with interests; is deemed non-binding it shall in no way affect any other portion of this arbitration
award. That this Arbitrator is permitted and allowed to adjust the arbitration award to no leas than
two times the original value of the properties associated with this agreement, plus the addition of
fines, penalties, and other assessments that are deemed reasonable to the Arbitrator upon
presentment of such claim, supported by prima facie evidence of the claim.

26. The defaulting party will be estopped from maintaining or enforcing the original
offer/presentment; i.e., the above referenced alleged Commercial/Civil/Cause as well as ALL
commercial paper (negotiable instruments) therein, within any court or administrative tribunal/unit
within any venue, jurisdiction, and forum the Claimant may deem appropriate to proceed within in
the event of ANY and ALL breach(s) of this contractual agreement by Respondent(s) to compel
specific performance and or damages arising from injuries therefrom. The defaulting party will be
foreclosed by laches and/or estoppel from maintaining or enforcing the original offer/presentment in
any mode or manner whatsoever, at any time, within any proceeding/action.

27, Furthermore, the Respondent(s) are foreclosed against the enforcement, retaliation, assault,
infringement, imprisonment, trespass upon the rights, properties, estate, person whether legal,
natural or otherwise of the presenter/petitioner and/or his interest and/or his estate retroactively, at
present, post-actively, forever under any circumstances, guise, and/or presumption.

NOTICE OF COMMON-LAW ARBITRATION:

28. Please be advised that in-as-much as the Claimant has “secured” the “interest” in the “name”
of the all-capital-letter “named” defendant as employed/used upon the face; and within, ALL
documents/instruments/records within the alleged Commercial/Civil/Cause, to include any and all
derivatives and variations in the spelling of said “name” except the “true name” of the Claimant,
through a Common-Law Copyright, filed for record within the Office of the Secretary of State and

having “perfected said interest” in same through incorporation within a Financing (and all

SITCOMM ARBITRATION ASSOCIATION Page 9 of 22
2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 23 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-CAA90YA-9984748 AT0A-NB-001 | EXHIBIT -B

amendments and transcending filings thereto), by reference therein, the Claimant hereby and

herein, waives the Claimant’s rights as set, established, and the like therein, and as “perfected”

within said Financing Statement acting/operating to “register” said Copyright, to allow for the

Respondent(s) to enter the record of the alleged “court of record” within the alleged

Commercial/Civil/Cause for the SOLE purpose to correct said record and comply with Respondent(s)

agreed upon duty/obligation to write the “order” and cause same to be transmitted to restore and

release the Claimant, the Claimant's corpus and ALL property currently under a “storage contract”
under the Claimant’s Common-Law Copyrighted trade-name; i.e., the all-capital-letter “named”
defendant within the above referenced alleged Commercial/Civil/Cause, within the alleged
commercially “bonded” warehousing agency d.b.a. the commercial corporate Government juridical
construct d.b.a. the United States. Please take special note, that the copyright is with reference to
the name and its direct association and/or correlation to the presenter.

29. NOTICE: The Arbitrators, "Must not necessarily judge according to the strict law but as a

general rule ought chiefly to consider the principles of practical business."4

° “Internationally accepted principles of law governing contractual relations."5

. If the contract (valid or otherwise) contains an arbitration clause, then the proper forum to
determine whether the contract is void or not, is the arbitration tribunal.é

. That any determination by the Arbitrator is binding upon all parties, and that all parties
agree to abide by the decision of the Arbitrator. The Arbitrator is to render a decision based
upon the facts and conclusions as presented within the terms and conditions of the contract.
Any default by any party must be supported by proof and evidence of said default, that
default shall serve as tacit acquiescence on behalf of the party who defaulted as having
agreed to the terms and conditions associated with the self-executing binding irrevocable
contract coupled with interests. That the Arbitrator is prohibited from considering and/or
relying on statutory law, as it has been held that any time any party relies on or enforces a
statute, they possess no judicial power.

. “A judge ceases to set as a judicial officer because the governing principals of administrative
law provides that courts are prohibited from substituting their evidence, testimony, record,
arguments and rationale for that of the agency. Additionally, courts are prohibited from their
substituting their judgments for that of the agency."?

. "...Judges who become involved in enforcement of mere statutes (civil or criminal in nature

and otherwise), act as mere "clerks" of the involved agency... "8

‘ Norske Atlas Insurance Co v London General Insurance Co (1927) 28 Lioyds List Rep 104.
5 Deutsche Schachtbau v R'As al-Khaimah National Oil Co (1990) 1 AC 295.

5 Heyman v Darwins Ltd. (1942) AC 356.

7 AIST v US, 568 F2d 284.

* K.C. Davis, ADMIN. LAW, Ch. 1 (CTP. West's 1965 Ed.)

SITCOMM ARBITRATION ASSOCIATION Page 10 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

NUMBER: SAA-Z2Z7SG-3P651G3-CAA9OY A-9984748 AT0A-NB-001

° “... Their supposed ‘court! becoming thus a court of limited jurisdiction' as a mere extension of
the involved agency for mere superior reviewing purposes."® "When acting to enforce a
statute, the judge of the municipal court is acting an administrative officer and not as a
judicial capacity: courts in administrating or enforcing statutes do not act judicially. but,
merely administerially."10

. “It is basic in our law that an administrative agency may act only within the area of
jurisdiction marked out for it by law. If an individual does not come within the coverage of
the particular agency's enabling legislation the agency is without power to take any action
which affects him."!! "It is not every act, legislative in form, that is law. Law is something
more than mere will be exerted as an act of power...Arbitrary power, enforcing its edicts to
the injury of the person and property of its subjects is not law." 2

. Some of the aforementioned cases are not published, however; these are still fundamental
principles of law, and one of the fundamental principles of arbitration is that the Arbitrator
sits as judge over the facts, and as such to preserve the sanctity of the process and Arbitrator
receives the same immunity as a judge and is exempt from prosecution and or review, unless
they can be proved that the Arbitrator intentionally ignored the evidence and acted in
conspiracy to defraud the parties.

30. As the Claimant has no desire NOR wish to tie the hands of Respondent(s) in performing
Respondent(s) agreed upon duty/obligation as cet, established, and agreed upon within this
Conditional Acceptance for Value and counter offer/claim for Proof of Claim and thereby create/cause
a “breach” of said contractually binding agreement on the part of the Respondent(s), Respondent(s) is
hereby; and herein, NOTICED that if this waiver of said Copyright is not liberal, NOR extensive
enough, to allow for the Respondent(s) to specifically perform all duties/obligations as set,
established, and agreed upon within the Conditional Acceptance for Value and counter offer/claim for
Proof of Claim: Respondent(s) may; in “good faith” and NOT in fraud of the Claimant, take all
needed and required liberties with said Copyright and this waiver in order to fulfill and accomplish
Respondent(s) duties/obligations set, established, and agreed upon between the parties to this
agreement.

31. If Respondent(s) has any questions and or concerns regarding said Copyright and or the

waiver, Respondent(s) is invited to address such questions and or concerns to the Claimant in

writing and causing said communiqués to be transmitted to the Claimant and below named

Notary/Third Party. The respondents have acted as if the contract quasi-or otherwise does not place

a binding obligation upon their persons, upon their organizations, upon their institutions, upon their

* KC. Davis, ADMIN. LAW, P. 95, (CTP, 6 Ed. West's 1977) FRC v G.E. 28] US 46A; Keller v PE, 261 US 428.
'® Thompson v Smith. 155 Va. 376. 154 SE 583, 71 ALR 604.

" Endicott v Perkins, 317 US 501.

" Hurtado v, California (1884) 110 US 515 (1984).

SITCOMM ARBITRATION ASSOCIATION Page 11 of 22

Page 24 of 44

-

EXHIBIT -B

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 25 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A9OYA-9984748 AT0A-NB-001 EXHIBIT -B

job qualifications, and breaching that obligation breaches the contract, for which they cannot address
due to the direct conflict of interest. It is as a result of that conflict of interest that binding
arbitration shall be instituted.

32. Your failure to respond, and this would include each of the Respondent(s) by their
representative, and if represented by the Attorney General, such representation must be responsive
for each State and/or State organization/department/agency, separately and severally to each of the
points of averment, failure to respond to a single point of averment will constitute acquiescence,
forfeiture, and a waiver of all rights with respecta all of the points raised in this presentment.

33. Pursuant to the terms of the contractual agreement the Claimant has provided proof that
they have attempted to communicate with the Respondent(a) for compliance of the contractual
agreement and have exhausted the requirements of the contractual agreement in that regard.

34. The Respondent(s) have agreed and consented to binding arbitration under the terms

of the contractual agreement and have waived all rights to vacate, modify, appeal, contest, or
collaterally attack the decision, rulings, orders, remedies, and/or award (both interim and final) of
this Arbitrator.

THE FEDERAL ARBITRATION ACT Application:

36. Pursuant to the contractual agreement’s arbitration clause, the agreement evidences a
transaction involving or affecting “commerce,” within the meaning of Article 9 United States Code
Subsection 1, and that the facts attributable to the claimant’s in the underlying associated
matters/cause/actions are associated with the use of instrumentalities as described in the foreign
sovereign immunities act or otherwise affected “commerce among the several states” within the
meaning of the statute and Article 9 United States Code § 1.

36. DUE TO THE FACT THAT THE CONTRACTUAL AGREEMENT IS A BINDING
IRREVOCABLE CONTRACT WHICH AFFECTS “COMMERCE,” THE ARBITRATION
PROVISIONS CONTAINED WITHIN IT ARE “VALID, IRREVOCABLE AND ENFORCEABLE
WITHIN THE MEANING OF 9 UNITED STATESS CODE SUBSECTION 2.

37. “Valid, Irrevocable and Enforceable” arbitration agreements and the orders, rulings,
decisions, remedies, and award made therefrom may be enforced in the United States courts by way
of confirmation and entry of a judgment of the court within the meaning of the statute and Article 9
United States Codes § 9 and §13. The supreme court has explained, “[t]here is nothing malleable
about ‘must grant,’ which unequivocally tells courts to grant confirmation in all cases, except when
one of the ‘prescribed’ exceptions applies.”38 Confirmation of an award is generally a “summary
proceeding that merely makes what is already a final arbitration award a judgment of the court.”14

38. It was held by the supreme court that “the “wholly groundless”!6 exception to

5 Hall St. Assocs., LLC. v, Mattel, Inc., 552. U.S. 576, 587 (2008).
™ Florasynth, Inc. v. Pickholz, 750 F.2d 171, 176 (2d Cir, 1984),
'S Henry Schein, Inc., et al. v. Archer & White Sales, Inc. (2019).

SITCOMM ARBITRATION ASSOCIATION Page 12 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 A70A-NB-001

arbitrability is inconsistent with the federal arbitration act and this court's precedent. Under the act,
arbitration is a matter of contract, and courts must enforce arbitration contracts according to their
terms.!6 The parties to such a contract may agree to have an arbitrator decide not only the merits of
a particular dispute, but also “gateway’ questions of ‘arbitrability.” Therefore, when the parties’
contract delegates the arbitrability question to an arbitrator, a court may not override the contract,
even if the court thinks that the arbitrability claim is wholly groundless.”!7

PROCEDURES ON ARBITRATION PROCEEDINGS:

39. The Claimant is seeking equitable relief and monetary damage relief from the Respondent(s)
and that the parties have agreed that arbitration proceedings should be bifurcated into separate
phases: Phase One (1) should address the claims for monetary damages; and Phase Two (2) should
address the claims for equitable relief.

40. The parties have stipulated that any court of original jurisdiction may enforce the

provisions of Phase Two (2) equitable relief awarded by the Arbitrator.

41, This Arbitrator shall have the exclusive jurisdiction for the enforcement of any and all
matters associated with Phase One (1) monetary damage relief.

42. Due to time constraints and the paramount danger affecting the public interest,

justice, and due process; the parties’ consented and applied for the arbitration proceedings to
commence without delay.

43. —_ First set of claims’ (due to the extensive nature of the claims, each of the claims by the
Claimant is incorporated herein by reference) ...

a The record shall reflect and note that the Claimant has attached a copy of the original
contract which list all the claims within the form of stipulation, that the parties have all agreed to,
and that they have incorporated each of those claims by reference. This Arbitrator finds that such
incorporation is appropriate and accepts that incorporation as a matter of record.

Oo As noted above, the Claimant has alleged that the Respondent(s) have breached the
contractual agreement and because the agreement is binding on all parties and was irrevocable; the
Respondent(s) have acted in bad faith, with unclean hands, and have breached their fiduciary duty of
care, responsibilities and are liable to the Claimant for the amount of the contractual agreement,
plus additional costs, fees, assessments, penalties, and other equitable relief remedies.

o That the Respondent(s) have agreed to discontinue all use of the Claimant's

personal information, assets, properties, within its publication, its databases, its system of record
keeping, and to have surrendered all records associated with this matter to the Claimant and have
failed to do as agreed.

Oo That the Respondent(s) have agreed to compensate the Claimant for their gross

6 Rent-A-Center, West, Inc. v, Jackson, 561 US 63, 67.
" bid.

SITCOMM ARBITRATION ASSOCIATION Page 13 of 22

Page 26 of 44

L

EXHIBIT -B

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 27 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 | EXHIBIT -B

misrepresentation of facts and other information pertinent to the welfare and well-being of the
Claimant. Respondent(s) have failed to provide such compensation as agreed and have failed to
provide any documentation which would substantiate their having complied with this requirement of
the contractual agreement.

o That the Claimant has agreed and accepted the fact that the United States has

declared a national banking emergency which is supported by the “EMERGENCY ECONOMIC
BANKING RELIEF ACT,” “PROCLAMATION 2038, 2039, and 2040,” and the “NATIONAL
EMERGENCIES ACT,” which resulted in the suspension of all normal banking activities and have
agreed that any claim of debt by the Respondent(s) is fraudulent, and that they willfully attempted
and committed fraud against the Claimant.

Oo That the Respondent(s) have agreed that THE NATIONAL BANKING HOLIDAY

permits them to issue what’s known as emergency script as prescribed by the March 9, 1933 Act (the
reference notes of Congress lend to this conclusion), have agreed to issue book keeping entry credit
and/or tax credits to the Claimant in the amount of the initial claim and owe Claimant as much as
treble damages associated with the initial claim.

QO The Respondent(s) have further agreed to turn over any and all properties, assets,
securities, documents, accounting records to the claimant’s upon demand/default and have failed
and/or refused to do eo, thus putting them in further breach in violation of the contractual
agreement, entitling the Claimant to equitable relief.

The findings and determination of THIS ARBITRATOR:

44, It is the determination of this Arbitrator that the following are facts that are undisputed
and uncontroverted:

a. That there is a binding irrevocable contractual agreement that has been coupled with
interests that exist between the parties,

b. That some of the parties had a pre-established relationship which placed an obligation on
each to communicate with the other.

c. That the Respondent(s) have made changes to the original agreement which

permitted and allowed the Claimant to present a counter offer and/or conditional acceptance of the
offer to change the agreement to the Respondent(s).

d. That the self-executing binding contract coupled with interests stands as irrevocable.

e. That the Respondent(s) have agreed to the contract, agreed to all the terms and

conditions of the contract by their acceptance of the waiver which was included as part of the
contractual agreement; that waiver being the right not to respond as highlighted by the Supreme
Court of the United States-

42, "Due process requires, at a minimum; that an individual be given a meaningful

SITCOMM ARBITRATION ASSOCIATION Page 14 of 22
2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 28 of 44

NUMBER: SAA-Z227SG-3P651G3-CAA9OYA-9984748 A70A-NB-001 EXHIBIT -B

opportunity to be heard prior to being subjected by force of law to a significant deprivation. . .. That
the hearing required by due Process is subject to waiver and is not fixed in form does not affect its
root requirement that an individual be given an opportunity for a hearing before he is deprived of
any significant property interest... "18
43. "In the latter case! we said that the right to be heard ‘has little reality or worth unless one is
informed that the matter is pending and can choose for himself whether to appear or default,
acquiesce or contest.’ The Respondent(s) have failed to provide proof that they have not received
and/or been notified of the existence of the contract and of their right to waiver.
44. The Respondent(s) failure to respond constituted an act of “tacit acquiescence.”
45. Respondent(s) have failed and/or refused to respond and provide the requested and
necessary Proof of Claims as requested by the Claimant. Therefore, it shall be held, noted and
agreed to by all the parties; that a general Tesponse, @ nonspecific response, or a failure to respond
with specificities and facts and conclusions of common law, and/or to provide the requested
information and documentation that is necessary and in support of the agreement shall constitute a
failure and a deliberate and intentional refusal to respond and as a result thereby and/or therein,
expressing the defaulting party’s consent and agreement to said facts and as a result of the self
executing agreement, the following is contingent upon their failure to respond in good faith, with
specificity, with facts and conclusions of common-law to each and every averment, condition, and/or
claim raised; as they operate in favor of the Claimant, through “tacit acquiescence.” Respondent(s)
NOT ONLY expressly affirm the truth and validity of said facts eet, established, and agreed upon
between the parties to the Conditional Acceptance for Value and counter offer/claim for Proof of
Claim, but also Respondent(s) have agreed and consented to Respondent(s) having a duty and
obligation to provide the requested and necessary Proof of Claims which will create and establish for
Respondent(s) an estoppel in this matter(s), and ALL matters relating hereto; and arising
necessarily therefrom...
and
46. Respondent(s) have waived all rights, claims, defenses, and/or standing respecting the
matter and is estopped from any collateral attacks and/or seeking disposition from any other venue
as a result of the knowing, intentional and deliberate consent to the contractual agreement.

a. This Arbitrator finds that the Claimant as well as the Respondent(s) are consenting adults,

having attained the age of the majority: not a minor, not an infant, not a delinquent, and/or a

decedent. All parties are fully capable of entering into and negotiating contracts; and

‘8 Randone v. Appellate Department, 1971, 5 C3d 536, 550.
'* Mullane v. Central Hanover Trust Co., 339 U.S. 306
® Sniadach v, Family Finance Corp., 395 U.S. 337, 339, 340

SITCOMM ARBITRATION ASSOCIATION Page 15 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 29 of 44

NUMBER: SAA-Z2Z,7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 | EXHIBIT -B

b. Ido not find any of the parties to be suffering from a mental disease and/or defect that would
have prevented and/or interfered with their knowing and intentional entering into the
binding contractual agreement; and

c. The arbitration hearing was held on May 13, 2019 at which time this Arbitrator reviewed all
contractual agreements and documentary evidence submitted by the parties in this matter.

d. This Arbitrator fully considered and grated the Claimant's request of March 15, 2019 for
summary disposition and further considered all the evidence in reference to the contractual
agreement.

e. This Arbitrator finds that the contractual agreement is binding on some of the parties,
remains irrevocable and that the contractual agreement remains in effect as stipulated
within the agreement until all the obligations are satisfied by the defaulting party. As of this
day, those obligations have not been satisfied and I hereby order the Respondent(s) to satisfy
the obligations according to the terms of the contractual agreement, which is not inconsistent
with this order; and

f. This Arbitrator finds that the Respondent(s) have failed to fully perform to the terms of the
agreement and that the Claimant is entitled to immediate and unconditional remedy as
prescribed within the terme of the contractual agreement; and

g. A prior relationship did exist between some of the parties and the Respondent(s) had an
obligation to respond to the reasonable request of the Claimant; and

h. The Respondent(s) failed to provide proof that they have not received and/or been notified of
the existence of the contractual agreement and of their right to waiver; and

i. The Respondent(s) failed to respond to the contractual agreement mailed with proof of
service by the Claimant on January 08, 2019 which constituted an act of “tacit acquiescence;”
and

j. The Respondent(s) have failed to fully perform to the terma of the agreement and the
Claimant is entitled to immediate and unconditional remedy as prescribed within the terms
of the contractual agreement; and

k. Therefore, this Arbitrator awards Claimant, Nelson L. Bruce; a total of $ 740,048.38 (Seven
Hundred Forty Thousand Forty Three U.S. Dollars and Thirty Three Cents) from
Respondent(s) Wilmington Savings Fund Society, Carrington Mortgage Services, LLC and
Bank of America, N.A.; as stipulated for breach af the contractual agreement and as agreed
to by the parties. The breakdown of such contractual agreement is as follows; and

lL. This Arbitrator awards Claimant, Nelson L. Bruce} a total of $ 246,681.11 (Two Hundred
Forty Six Thousand Six Hundred Eighty One U.S. Dollars and Eleven Cents) from
Respondent Wilmington Savings Fund Society; as stipulated for breach of the contractual

agreement and as agreed to by the parties; and

SITCOMM ARBITRATION ASSOCIATION Page 16 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 30 of 44

NUMBER: SAA-Z2Z78G-3P651G3-C4A9OYA-9984748 AT0A-NB-001 LL EXHIBIT -B

m. This Arbitrator awards Claimant, Nelson L. Bruce; a total of $ 246,681.11 (Two Hundred
Forty Six Thousand Six Hundred Eighty One U.S. Dollars and Eleven Cents) from
Respondent Carrington Mortgage Services, LLC; as stipulated for breach of the contractual
agreement and as agreed to by the parties; and

n. This Arbitrator awards Claimant, Neleon L. Bruce; a total of $ 246,681.11 (Two Hundred
Forty Six Thousand Six Hundred Righty One U.S. Dollars and Eleven Cents) from
Respondent Bank of America, N.A. as stipulated for breach of the contractual agreement and
as agreed to by the parties; and

0. The Respondent(s) have thirty (30) days from receipt of this Award to comply with the
decision of this Arbitrator. In the event that the Respondent(a) fail to comply with the
decision of this Award, this Arbitrator may re-visit this matter to award the Claimant with
punitive damages.

p. The agreement stipulates that this Arbitrator may adjust the amount of the award to include
fees, adjustments, costs, and other expenses.

48. The Supreme Court has explained, “[t]here is nothing malleable about ‘must grant,’

hich tmeatsvocallytlls courte to grant confirmation in all cases, exept when one of the
‘prescribed’ exceptions applies." A Judicial review of an arbitratar’s award is extremely limited,
and the court must accept the arbitrator's credibility determinations, even where there is conflicting
evidence and room for choice exists. “An arbitrator's award should not be vacated for errors of law
and fact committed by the arbitrator and the courts should not attampt to mold the award to -
conform to their sense of justice.”*

49. This order shall be binding on all the parties, in all jurisdictions, and shall take

precedent over all collateral and/or related matters heretofore, at present and forthwith until the
agreement is fully satisfied. The Respondent(s) are estopped from maintaining and/or bringing forth
any action against the Claimant, the Claimant’s heirs, and/or the Claimant's properties
permanently. This order shall constitute a permanent injunction against the Respondent(s)
respecting the Claimant’s and the Claimant's interest; comprised and embodied within the
contractual agreement.

50. The Respondent(s) are hereby ordered to release any and all claims against any and all
properties of the Claimant's, to return any and all properties held in any manner, to include records,
documents, audiotapes, discoveries, exculpatory or otherwise, and that this order/mandate shall not
be construed other than its intent and its contextual rendering.

51. Accordingly, Justice Kavanaugh of the Supreme Court expressed his opinion as “We

* Hall St. Assocs., LLC v. Mattel, Inc., 552 US. 516, 587 (2008),
© Matter of Long Is. Ins. Co. v. Motor Vehicle Accident Indemnification Corp., 57 AD3d 670, 869 NYS2d 195 (2nd Dept, 2008). White v.
Roosevelt Union Free School District Board of Educ., 147 AD3d 1071, 48 NYS3d 220 (2nd Dept, 2017).

® Aftor v, Geico Insurance Co., 110 AD3d 1062, 974 NYS2d 95 (nd Dept., 2013).

SITCOMM ARBITRATION ASSOCIATION Page 17 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 31 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001 | EXHIBIT -B

must interpret the Act as written, and the Act in turn requires that we interpret the contract as
written. When the parties’ contract delegates the arbitrability question to an arbitrator, a court may
not override the contract. In those circumstances, a court possesses no power to decide the
arbitrability issue. That is true even if the court thinks that the argument that the arbitration
agreement applies to a particular dispute is wholly groundless.”"*

52. Further, Kavanaugh continued; “That conclusion follows not only from the text of the Act but
also from precedent. We have held that a court may not “rule on the potential merits of the

underlying” claim that is assigned by contract to an arbitrator, “even if it appears to the court to be

frivolous.”25 A court has “no business weighing the merits of the grievance” because the “agreement
is to submit all grievances to arbitration, not merely those which the court will deem meritorious.””28
AT&T Technologies principle applies with equal force to the threshold issue of arbitrability. Just as a
court may not decide a merits question that the parties have delegated to an arbitrator, a court may
not decide an arbitrability question that the parties have delegated to an arbitrator.

This award is consistent with the following:

53. 5 U.S. Code § 572 - General authority

(a) An agency may use a dispute resolution proceeding for the resolution of an issue in controversy
that relates to an administrative program, if the parties agree to such proceeding.

(b)An agency shall consider not using a dispute resolution proceeding if—

()) A definitive or authoritative resolution of the matter is required for precedential value, and such
a proceeding is not likely to be accepted generally as an authoritative precedent;

(2) The matter involves or may bear upon significant questions of Government policy that require

additional procedures before a final resolution may be made, and such a proceeding would not likely

serve to develop a recommended policy for the agency;

(3) Maintaining established policies is of special importance, so that variations among individual
decisions are not increased and such a proceeding would not likely reach consistent results among
individual decisions;

(4) The matter significantly affects persons or organizations who are not parties to the proceeding;
(5) A full public record of the proceeding is important, and a dispute resolution proceeding cannot
provide such a record; and

(6) The agency must maintain continuing jurisdiction over the matter with authority to alter the
disposition of the matter in the light of changed circumstances, and a dispute resolution proceeding

would interfere with the agency’s fulfilling that requirement.

™ Henry Schein, Inc., et al. v. Archer & White Sales, Inc. (2019).
® AT&T Technologies, Inc. v. C Workers, 475 U. S. 643, 649-650 (1986).
26 Steelworkers v. American Mfg, Co.,363 U. S. 564, 568 (1960).

SITCOMM ARBITRATION ASSOCIATION Page 18 of 22
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 AT0A-NB-001

(7) Alternative means of dispute resolution authorized under this subchapter are voluntary
procedures which supplement rather than limit other available agency dispute resolution
techniques.2”
54, The Claimant and Respondent(s) have agreed that this private contractual agreement
involving private parties has no bearing on the public and/or the SITCOMM ARBITRATION
ASSOCIATION'S policies and/or procedures, and that the award is consistent with the terms of the
agreement and the general principles of arbitration that have been delineated through the annuals a
time.
56. That the contractual agreement between the parties was specific to the parties only and did
not involve any nonrelated party and/or entity, does not affect government and/or ita abilities to
carry out its functions, policies, and/or procedures. That the parties saw arbitration as an alternative
remedy and agree to the alternative remedy within the construct of the binding irrevocable
contractual agreement that remains coupled with interests.
56. That the term and/or phrase agency as defined by the statute does not apply to the parties
and their private contractual matters, - (1)“agency” means each authority of the Government of the
United States, whether or not it is within or subject to review by another agency, but does not
include— (A) the Congress; (B) the courts of the United States; (C) the governments of the territories
or possessions of the United States: (D) the government of the District of Columbia; (E) agencies
composed of representatives of the parties or of representatives of organizations of the parties to the
disputes determined by them; (F) courts martial and military commissions; (G) military authority
exercised in the field in time of war or in occupied territory; or (H) functions conferred by; subchapter
Ui of; or sections 1884, 1891-1902, and former appendix; 1.

(a) that none of the following cases apply wherein the award may be vacated—
(1) As this Arbitrator relied upon the facts and evidence28 presented and that the award was not
procured by corruption, fraud, or undue means; and/or
(2) That no aspect of the parties political affiliation, sexual orientation, gender, religious Association,
and/or otherwise partiality or corruption are present in the Arbitrators, or and/or the issuance of this
award; and/or
(3) The Arbitrator is not guilty of misconduct in refusing to postpone the hearing, as each party was
given an opportunity to have such a hearing posponed whether or not they provided sufficient
cause, or and that there was in no case a refusal to hear evidence pertinent and material to the
controversy; or any misbehavior by which the rights of any party could be perceived as having been

prejudiced; and/or

* Added Pub. L. 101-552, § 4(b), Nov. 15, 1990, 104 Stat. 2739, § 582; renumbered § 572, Pub. L. 102-354, § 3(b)(2), Aug. 26, 1992, 106 Stat.
944,

8 Singh v. Raymond James Fin. Servs, Ine., No. 13-cv-1323, 2014 WL 11370123, (S.D.N.Y. March 28, 2014). “{T]ypically, ‘arbitrators need
not explain their rationale for an award"” (quoting Barbier v. Shearson Lehman Hutton Inc., 948 F.2d 117, 124 (2d Cir, 1991)).

SITCOMM ARBITRATION ASSOCIATION Page 19 of 22

Page 320f44 .

EXHIBIT -B

2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1

NUMBER: SAA-Z2Z7SG-3P651G3~CAASOYA-9984748 A70A-NB-001

(4) That the Arbitrator operated only within the powers delegated by the contractual agreement,
powers that were detailed in the agreement, and to the best of the Arbitrator’s ability have perfectly
executed those powers to the extent that a mutual, final, and definite award upon the subject matter
submitted has been rendered. Title 5 §572 has been complied with by this Arbitrator and SITCOMM
ARBITRATION ASSOCIATION.
57. That this award may only be modified under the following circumstances —
(a) Where there was an evident material mi tion of figures or an evident material mistake in
the description of any person, thing, or property referred to in the award, the Arbitrator relied on the
contract and the amount specified within the agreement; and
(b) Where the Arbitrators may have awarded upon a matter not submitted to them, unless it is a
matter not affecting the merits of the decision upon the matter submitted, the Arbitrator has relied
upon the evidence presented and the contractual agreement and terms specified therein; and
(c) Where the award is imperfect in matter of form not affecting the merits of the controversy.
This Arbitrator may modify and correct the award, so as to affect the intent thereof and promote
justice between the parties, the Arbitrator has intended to promote justice, fairness, and render due
process between the parties irrespective of the Arbitrator's personal opinion, rationale, arguments
and/or disposition.
58. It shall be forever known and stated, that this Arbitrator relied on the evidence
presented and the intentions of the contract; and not otherwise. That I am duly appointed by the
parties as stipulated in the agreement and de per the law this order is binding on all parties and I
have come to the conclusions stated herein based on the facts and the evidence presented at the time
of this arbitration award. This decision and/or rendering is not interim, that this is a final decree
and judgment by this Arbitrator shall remain in effect and enforced as un-amendable immediately
upon issuance.
NOTICE OF THE ISSUANCE OF THE AWARD TO BE DELIVERED TO:
ORIGINAL:
CLAIMANT

Nelson L. Bruce
ADDRESS: 144 Pavilion Street

Summerville, South Carolina 29483

United States of America
COPIES:
RESPONDENT(S)

Wilmington Savings Fund Society

Attention: Mark A. Turner, Chief Executive Officer

500 Delaware Avenue
Wilmington, Delaware 19801

SITCOMM ARBITRATION ASSOCIATION Page 20 of 22

Page 33 of 44

| EXHIBIT-B

2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 34 of 44

NUMBER: SAA-Z2Z7SG-3P651G3-C4A90YA-9984748 ATOA-NB-001 | EXHIBIT -B |

Albertelli Law

William S. Koehler on behalf of Wilmington Savings Fund Society, FSB
1201 Main Street, Suite 1450

Columbia, South Carolina 29201

Bank of America, N.A.

Brian Moynihan, Chief Executive Officer
100 N. Tryon Street

Charlotte, North Carolina 28255

The District Court of the United States — Charleston Division/Civil
86 Broad Street
Charleston, South Carolina 29401

Carrington Mortgage Services, LLC
Attention: Bruce Rose, Chief Executive Officer
P.O. Box 5001

Westfield, Indiana 46074

United States Attorney General William Barr
U.S. Department of Justice

950 Pennsylvania Avenue, N.W.

Washington, D.C. 20530

Justice John Glover Roberts, Jr.
United States Supreme Court

1 First Street, NE.
Washington, D.C. 20543

Chief Justice Donald W. Beatty
South Carolina Supreme Court
1231 Gervais Street

Columbia, South Carolina 29201

Fiscal Service Director, Fi Office
United States Department of Agriculture
1400 Independence Avenue, S.W.
Washington, D.C. 20250

Attorney General Alan Wilson

State of South Carolina Attorney General's Office
P.O. Box 11549

Columbia, South Carolina 29211

South Carolina Housing Trust Fund
Attention: Tracey C. Easton

300-C Outlet Pointe Boulevard
Columbia, South Carolina 2at0

The Honorable Henry McMaster
Governor of the State of South Carolina
1100 Gervais Street

Columbia, South Carolina 29201

United States House of Representatives
Attention: Joe Cunningham

530 Johnnie Dodds Boulevard, Suite 201
Mt. Pleasant, South Carolina 29464

Office of the State Treasurer,

South Carolina State Treasurer

1200 Senate Street, Suite 214 Wade Hampton Building
Columbia, South Carolina 29201

South Carolina House of Representatives

310A Blatt Building, 1105 Pendleton Street
Columbia, South Carolina 29201

SITCOMM ARBITRATION ASSOCIATION Page 21 of 22
Page 35 of 44
|

EXHIBIT -B

2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1
ATOA-NB-001

NUMBER: SAA-Z2Z7SG-3P651G3-CAA9OYA-9984748

Office of the Treasurer
Treasurer of the United States
1500 Pennsylvania Ave, N.W. Room 2134

Washington, D.C. 20220

EMAIL: leonbruce81@yahoo.com
SO, AWARDED.
Be it eo this 18th day May 2019.
At: Laurel, Mississippi
hy
SiRATIOy n,
FS -SaPORG,-
EVO
is: SEAL
s:
OF 2015
yo
Hiden Bennett .
ALDEN A. BENNETT

sara
Committee Member's Signature:

IMPORTANT NOTICE: Certification of services rendered. The Original Arbitration Award is given to the Claimant to be
retained as private property. No Trespass. Certified Copies of the Original can only be issued with permission of
SITCOMM ARBITRATION ASSOCIATION.

(REMAINDER OF PAGE LEFT INTENTIONALLY BLANK)

Page 22 of 22

SITCOMM ARBITRATION ASSOCIATION
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 36 of 44

| _ EXHIBIT-B

-SITCOMM ARBITRATION ASSOCIATION

1001 South White Oak Road
White Oak, Texas 75693
+1 (877) 631-1722

Website: www.saalimited.com Email: support@saalimited.com

Office of the Committee

This Certification is not valid for use anywhere within the United States of America, its
territories or possessions. This Certification does not certify the content of the document for

which it is issued.

I, Alden Bennett, Committee Member of SITCOMM Arbitration Association, under
and by virtue of the authority vested in m by the Federal Arbitration Act Title 9 Sections 1-9 of
the United States Code, Do Hereby cost that:

Sandra Goulette

This Arbitrator has created and executed the attached Arbitration Award, was on the date
thereof, the duly qualified Arbitrator for SITCOMM Arbitration Association whose official acts
as such should be given full faith and credit in all Courts and Justice and elsewhere.

In Testimony Whereof, I hereunto set my
hand and have caused to be affixed a
director’s autograph, on this /7 day 26/9
year of 3 Y 4 month, in the year of our Lord.

Hen Bennett

Alden Bennett
SITCOMM ARBITRATION ASSOCIATION COMMITTEE MEMBER

OF,

i
ROOT

No, SAA-Z2Z7SG-3P651G3-C4A90Y A-9984748-BRUCE
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 37 of 4

4

| __EXHIBIT-C
SITCOMM ARBITRATION ASSOCIATION
8764 Rosalie Avenue # 440223
Brentwood, Missouri 63144
+ 1 (877) 631-1722
Website: saalimited.com Email: support@saalimited.com

ALL-PURPOSE PROOF OF SERVICE

L SITCOMM ARBITRATION ASSOCIATION, being at or above the age of 18, of the

majority and not a party to the action, a citizen of the United States of America, did mail the

document entitled: FINAL ARBITRATION AWARD

by placing it in an envelope addressed to: Name and address:

WILLIAM S KOEHLER
ALBERTELLI LAW

1201 MAIN ST

STE 1450

COLUMBIA, SC 29201-3270
9405503699300019036921

BRIAN MOYNIHAN

BANK OF AMERICA

100 N TRYON ST
CHARLOTTE, NC 28202-4000
9405503699300019036952

DISTRICT COURT OF THE UNITED STATES
85 BROAD ST

CHARLESTON, SC 29401-2202
94055036993000 19036969

JOE CUNNINGHAM

UNITED STATES HOUSE OF REPRESENTATIVES
530 JOHNNIE DODDS BLVD

STE 201

MT PLEASANT, SC 29464-3083
9405503699300019036976

WILLIAM BARR

UNITED STATES ATTORNEY GENERAL
950 PENNSYLVANIA AVE NW
WASHINGTON, DC 20530-0009
9405503699300019036983

FINANCE OFFICE

UNITED STATES DEPT OF AGRICULTURE
1400 INDEPENDENCE AVE SW
WASHINGTON, DC 20250-0002
94055036993000 19037072

NELSON L BRUCE
144 PAVILION ST
SUMMERVILLE, SC 29483-8444

TREASURER OF THE UNITED STATES
1500 PENNSYLVANIA AVE NW

RM 2134

WASHINGTON, DC 20220-0001
9405503699300019037287

MARK A TURNER

WILMINGTON SAVINGS FUND SOCIETY
500 DELAWARE AVE

WILMINGTON, DE 19801-1490
9405503699300019037300

SOUTH CAROLINA HOUSE OF REPRESENTATIVES
1105 PENDLETON ST # 310

COLUMBIA, SC 29201-3732
9405503699300019037317

JOHN G ROBERTS

UNITED STATES SUPREME COURT
1 IST ST NE

WASHINGTON, DC 20543-0001
9405503699300019037232
2:19-cv-02854-BHH __ Date Filed 10/08/19

ALAN WILSON

SOUTH CAROLINA ATTORNEY GENERAL
PO BOX 11549

COLUMBIA, SC 29211-1549
9405503699300019037102

HENRY MCMASTER

GOVERNOR OF SOUTH CAROLINA
1100 GERVAIS ST

COLUMBIA, SC 29201-6215
9405503699300019037133

SOUTH CAROLINA STATE TREASURER
1200 SENATE ST

STE 214

COLUMBIA, SC 29201-3734
9405503699300019037218

BRUCE ROSE

CARRINGTON MORTGAGE SERVICES
PO BOX 5001

WESTFIELD, IN 46074-5001
9405503699300019037225

DONALD W BEATTY

SOUTH CAROLINA SUPREME COURT
1231 GERVAIS ST

COLUMBIA, SC 25201-3206
9405503699300019037249

TRACEY E EASTON

SOUTH CAROLINA HOUSING TRUST FUND
300 OUTLET POINTE BLVD STE C
COLUMBIA, SC 29210-5652

94055036993000 19037270

Entry Number 1-1

Page 38 of 44

EXHIBIT-c |

Affixing the proper postage and depositing it with the local postal carrier, also being of the age
of the majority, and not a party to this action who upon receipt guarantees delivery as addressed
and/or local dropbox guaranteeing the same as prescribed in law. If called upon I provide this
sworn testimony based on first-hand knowledge of the aforementioned events attesting and

ascribing to these facts on this day May 21, 2019.

THE SITCOMM ARBITRATION ASSOCIATION
USPS.com® - USPOTH@kingMRESiBHH Date Filed 10/08/1Strpsieioy ivpsrdacgotrackCRAGA ARMOIRE fullpage&tLc=17&...
| _ EXHIBIT-C

U S Pp Ss Trac ki n g° FAQs > (https://www.usps.com/faqs/uspstracking-fags.htm)

Track Another Package +

Tracking Number: 9405503699300019036921 Remove X

Your item was delivered to the front desk, reception area, or mail room at 8:36 am on June 3, 2019 in COLUMBIA,
SC 29201.

& Delivered

June 3, 2019 at 8:36 am
Delivered, Front Desk/Reception/Mail Room
COLUMBIA, SC 29201

Get Updates Vv

Text & Email Updates Vv

Tracking History Vv

Product Information v
See Less ~

Jr BANK oF AMERICA
Tracking Number: 9405503699300019036952 Remove X
On Time
Expected Delivery on
SATURDAY

by
1 8% — R00pme

GY Delivered

June 1, 2019 at 10:53 am
Delivered, To Agent
CHARLOTTE, NC 28202

Get Updates vv

See More V

lof 9 6/25/2019, 1:50 PM
USPS.com® - USP2TH@kingMREG4sBHH Date Filed 10/08/1Stps2imioys dspyedaegolrackCORAGAGROEREAfullpage&tLc=17&...
| _ExHIBIT-c |

Tracking Number: 9405503699300019037287

Expected Delivery on
MONDAY

3 JUNE by
2193@  8:00pme@

Y Delivered

June 3, 2019 at 3:48 am
Delivered
WASHINGTON, DC 20220

Get Updates \v

See More V

K WILMINGTON savINGS FUND SOCLETY

Tracking Number: 940550369930001 9037300 Remove X

On Time

Expected Delivery on
SATURDAY

by
1 2190 8:00pme@

& Delivered

June 1, 2019 at 7:53 am
Delivered, PO Box
WILMINGTON, DE 19801

Get Updates \v

See More V

Remove X

4o0f9 6/25/2019, 1:50 PM
USPS.com® - USPSyTtegking®@RGBUS-BHH Date Filed 10/08/1 Sttpstetry.ushsrweloeyoltackCARAGMA Ath OIR4A fullpazestLc~17&..
| _EXHIBIT-c__ |

Tracking Number: 9405503699300019037218

On Time

Expected Delivery on
SATURDAY

by
1 2019 8:00pm

Y Delivered

June 1, 2019 at 9:24 am
Delivered, In/At Mailbox
COLUMBIA, SC 29201

Get Updates vv

See More V

CARKINGTON MORTGAGE SERVICES

Tracking Number: 9405503699300019037225 Remove X

On Time

Expected Delivery on
SATURDAY

by
1 2019 8:00pm

Y Delivered

June 1, 2019 at 10:35 am
Delivered, Individual Picked Up at Postal Facility
WESTFIELD, IN 46074

Get Updates VV

See More V

Remove X

7 of 9 6/25/2019, 1:50 PM
2:19-cv-02854-BHH __ Date Filed 10/08/19 Entry Number 1-1 Page 42 of 44

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

Nelson L. Bruce,

Petitioner, C.A. NO.:

vs. ORDER AND JUDGMENT
CONFIRMING ARBITRATION AWARD
BANK OF AMERICA, N.A., WILIMINGTON
CARRINGTON MORTGAGE SERVICES,
LLC; EXHIBIT - D

Respondents.

This matter is before the Court on the motion of the movant, Nelson L. Bruce, for an order,
judgment and decree confirming an arbitration award in its entirety pursuant to the applicable provisions

of 9 U.S.C. § 9.

The movant and respondents are parties to written contracts evidencing transactions involving
commerce to settle by arbitration controversy or claim arising out of or relating in any way to the
Agreement or with regard to its formation, interpretation or breach, and any issues of substantive or
procedural arbitrability thereafter arising out of such contract between the parties within the meaning of 9
U.S.C. § 2. In 2019, the movant initiated an arbitration proceeding against the respondent(s) by filing a
“REQUEST FOR DISPUTE RESOLUTION?” with the SITCOMM ARBITRATION
ASSOCIATION ("SAA"). The arbitrator conducted a hearing on May 13, 2019 and issued an award (the

"Award") on May 18, 2019. A copy of the Award is attached hereto as Exhibit - B.

Accordingly, the Court having reviewed the record and being duly and sufficiently advised, it is
ORDERED, ADJUDGED and DECREED that:

1. This court has original subject matter jurisdiction of this action to confirm an arbitration

award pursuant to 9 U.S.C. § 9 and § 13, and 28 U.S. Code § 1332.

Page 1|3
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 43 of 44

2. This court has jurisdiction over the persons of the respondent(s) because it has been duly
served with process in accordance with 9 U.S.C. § 9.

3. Venue is properly established in this Court pursuant to 9 U.S.C. § 9 and § 13, and 28 U.S.
Code § 1332.

4. It is established that this court is a court of Original Jurisdiction.

5. The parties agreed, in written agreements evidencing transactions involving commerce, to
settle by arbitration an existing controversy or any controversy thereafter arising out of such
contract or transactions between the parties, under such agreements.

6. A copy of the Award, which was made on May 18, 2019, is attached as Exhibit - B and is
incorporated herein in its entirety by reference.

7. The parties have agreed and applicable law provides that a judgment may be entered upon the
Award made pursuant to the arbitration proceeding.

8. Respondent(s) Bank of America, N.A., Wilmington Savings Fund Society, FSB, and
Carrington Mortgage Services, LLC have failed to contest the award after it had been
delivered to them as prescribed pursuant to 9 U.S.C. § 10 and § 11 within the timeframe
prescribed pursuant to 9 U.S.C. § 12 and are therefore barred from raising any affirmative
defenses in opposition to confirmation and enforcement of the award.

9. The movant’s application for an order and judgment confirming the Award is GRANTED.
The Award, the terms and conditions of which are incorporated herein, in their entirety by
reference, is confirmed as the judgment of this Court and, pursuant to 9 U.S. C. § 9, may be
enforced as any other judgement or decree pursuant to 9 U.S. C. § 13.

10. Pursuant to paragraphs 49 and 50 of the Award, it is hereby ordered as follows:

a) This order shall be binding on all the parties, in all jurisdictions, and shall take precedent
over all collateral and/or related matters heretofore, at present and forthwith until the
agreement is fully satisfied. The Respondent(s) are estopped from maintaining and/or

bringing forth any action against the Claimant, the Claimant's heirs, and/or the Claimant's

Page 2|3
2:19-cv-02854-BHH Date Filed 10/08/19 Entry Number 1-1 Page 44 of 44

properties permanently. This order shall constitute a permanent injunction against the
Respondent(s) respecting the Claimant's and the Claimant's interest; comprised and
embodied within the contractual agreement.

b) The Respondents are to release any and all claims against any and all properties of the
Claimant's, to return any and all properties held in any manner, to include records,
documents, audiotapes, discoveries, exculpatory or otherwise, and that this order/mandate

shall not be construed other than its intent and its contextual rendering.

IT IS SO ORDERED.

UNITED STATES DISTRICT JUDGE

Dated:
Columbia, South Carolina

Page 3|3
